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                       UNITED STATES DISTRICT COURT

                       EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                                      CRIMINAL    ACTION


v.                                                            NO. 20-55



JASON WILLIAMS AND NICOLE BURDETT                             SECTION “F”



                              ORDER AND REASONS


       The   specter   that   a     political   agenda   or    federal    agency

animosity    towards    a   local    “reformist”    District    Attorney-elect

prompted this federal tax prosecution against the prominent public

official and his law partner at his criminal defense firm looms

large over these proceedings.          Orleans Parish City Councilman and

now District Attorney-elect Jason Williams and his law partner,

Nicole Burdett, claim that the government singled them out for tax

fraud prosecution in violation of their constitutional rights to

equal protection and due process.           Mr. Williams submits that the

government impermissibly targeted him based on his status as a

sitting public official and as a reform candidate for District

Attorney.     The government and the accused generally agree on the

rigorous legal hurdles obstructing the accused’s constitutional

challenge to the tax fraud indictment.             They clash on whether the


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evidence    elicited   during   the   October   22    evidentiary   hearing

overcomes the presumption of prosecutorial regularity and good

faith.     Before the Court is a renewed motion to dismiss the June

26, 2020 indictment by Jason Williams and Nicole Burdett, as well

as a motion to dismiss the December 4, 2020 indictment in Criminal

Action Number 20-139 by Nicole Burdett.              Resolving whether the

prosecution is unduly selective or vindictive turns on considering

the trajectory of the bureaucracy laden investigation turned tax

fraud prosecution and assessing how the evidence measures up

against the lofty burden and cramped conception of constitutional

rights imposed by the case literature. In many respects, the facts

underlying the accused’s constitutional claims robustly inform

their defenses to the government’s charges and likely will be

explored as part of their telegraphed incomplete- or shoddy-

investigation defense to the charges at trial.             For this reason

and the reasons that follow, the renewed motions to dismiss the

indictment are DENIED.


                                Background


     On June 26, 2020, a specially-convened federal grand jury

returned an 11-count indictment, charging Jason R. Williams and

Nicole E. Burdett with one count of conspiracy to defraud the

United States, in violation of 18 U.S.C. § 371 (Count 1); five

counts of aiding and assisting in the preparation and presentation

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of false and fraudulent tax returns, in violation of 26 U.S.C. §

7206(2) (Counts 2, 3, 4, 5, and 6); 1 and five counts of failing to

file IRS Forms 8300 relating to cash received in trade or business,

in violation of 31 U.S.C. §§ 5331 and 5322 (Counts 7, 8, 9, 10,

and 11). 2


      The indictment was returned while Mr. Williams was a city

councilman campaigning to be Orleans Parish District Attorney.             As

for the conspiracy and preparation of fraudulent tax returns

charges, Mr. Williams and Ms. Burdett contend that they were

improperly singled out from hundreds of other clients of their tax

preparer, convicted felon Henry Timothy, whom they relied upon to

determine which law firm expenses should be deducted on Jason

Williams’ tax returns for the charged tax years.         As for the Title

31 charges, Mr. Williams and Ms. Burdett are the only individuals




1 Each charged § 7206(2) violation concerns allegedly inflated
Schedule C business expenses in the amount of: $200,000 (tax year
2013; Count 2); $90,000 (tax year 2014; Count 3); $170,000 (tax
year 2015; Count 4); $140,000 (tax year 2016; Count 5); $120,000
(tax year 2017; Count 6).       The government alleges that the
defendants misclassified Jason Williams’ personal expenses as
business expenses and provided this false information to tax
preparer, Henry Timothy, for inclusion on the Schedule C (profit
and loss from a business) portion of Williams’ tax returns; and
that these allegedly fraudulent tax returns reduced Williams’ tax
liability in excess of $200,000.
2 Each charged §§ 5331 and 5322 violation concerns an occasion in

which Mr. Williams and Ms. Burdett allegedly failed to report cash
payments in excess of $10,000 from clients for legal services;
five occasions between June 2017 and August 2018, for a total of
$66,516.
                                     3
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to be charged with failing to file a Form 8300 in the Eastern

District of Louisiana at least in the past 50 years.


      This Order and Reasons assumes familiarity with prior motion

practice, proceedings, and Orders and Reasons.            After granting the

defendants’ request for limited discovery on their selective and

vindictive prosecution theories (but denying without prejudice

dismissal of the indictment), an evidentiary hearing was conducted

on October 22, 2020.        Four government agents along with a defense

expert    Certified   Public      Accountant    testified,     and   documentary

evidence was submitted by all parties.


      Meanwhile, on December 5, 2020, Jason Williams was elected

District Attorney for Orleans Parish; the day prior to the run-

off election, on December 4, 2020, Nicole Burdett was separately

indicted on four counts of making and subscribing a false tax

return,    in   violation    of   26   U.S.C.   §   7206(1),   concerning   her

personal tax returns. 3      Criminal Action Number 20-139 was randomly




3Each charged § 7206(1) violation concerns a particular tax year’s
Form 1040 tax return that was allegedly false and fraudulent
insofar as Nicole Burdett filed as Head of Household, even though
she was married at the time, and the tax return allegedly contained
false and fraudulent Schedule C business expenses exceeding a
certain amount, causing Nicole Burdett to qualify for the Earned
Income Tax Credit: Count 1 relates to tax year 2014 and allegedly
false Schedule C expenses exceeding $50,000; Count 2 relates to
tax year 2015 and allegedly false Schedule C expenses exceeding
$70,000; Count 3 relates to tax year 2016 and allegedly false
Schedule C expenses exceeding $100,000; Count 4 relates to tax
                                        4
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allotted to another Section of Court, which granted Ms. Burdett’s

motion to transfer the case to this Court given the relatedness of

pretrial issues presented in the cases and to prevent duplication

of pretrial proceedings and inconsistent rulings. 4


                  Pre-Indictment/Federal Investigations


     Jason R. Williams is an attorney and public official who has

served as a Councilmember-At-Large for New Orleans City Council,

the legislative branch of New Orleans City government. Councilman

Williams qualified to run, and formally entered the race, for the

office of District Attorney for Orleans Parish; the election was

November 3, 2020.          After winning the run-off on December 5,

Williams   will    serve   as   District   Attorney   for   Orleans   Parish

starting on January 11, 2021.


     Until then and for past years, Councilman Williams heads his

law firm, Jason Rogers Williams & Associates LLC, which focuses on



year 2017 and allegedly false Schedule C expenses exceeding
$60,000.
4 In between the June 2020 indictment and Ms. Burdett’s December

2020 indictment, on September 22, 2020, the government filed a
bill of information charging Williams’ and Burdett’s former tax
preparer, Henry Timothy, with four counts of willfully making a
false tax return, in violation of 26 U.S.C. § 7206(1), related to
falsifying his own Schedule C gross receipts.     Criminal Action
Number 20-99 is proceeding before Judge Fallon.     On January 7,
2021, Henry Timothy pled guilty to one count of filing a false tax
return for tax year 2013. Timothy’s credibility and the extent of
his cooperation with federal prosecutors will surely be powerfully
placed at issue at the trial of his former clients.
                                      5
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criminal defense.     Nicole E. Burdett is one of Mr. Williams’s law

partners.    She also performs certain administrative functions for

the firm.


      Since 2016, Mr. Williams has been -- and still is -- the

target of what the prosecutors confirm is an “open and ongoing”

federal investigation by the FBI into wide-ranging and undisclosed

non-tax matters. 5     At least at its inception, the ongoing FBI

investigation was overseen by prosecutors at the U.S. Attorney’s

Office for the Eastern District of Louisiana. At some point before

July 24, 2018, prosecutors at the Western District of Louisiana

became involved in the FBI investigation. The source and unfolding

of the IRS investigation was the subject of the October 22, 2020

evidentiary hearing and is summarized in some detail.




5 Grand jury subpoenas to Mr. Williams bear a grand jury number of
2017R00460-97, indicating to counsel for Mr. Williams that the
government has been using the grand jury to investigate Williams
since 2017. The first bank subpoenas were issued between November
2016 and July 2017 at the request of prosecutors from the Eastern
District of Louisiana and agents from the New Orleans Division of
the FBI. The numbering system indicates that the Eastern District
issued at least 20 and as many as 41 total subpoenas during this
time period. In addition to bank records, the subpoenas sought
records from: one of Mr. Williams’s college acquaintances, a man
whom had received contracts from the City of New Orleans (with no
involvement from Mr. Williams); and a business that performed
repairs on Mr. Williams’s house.
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                October 22 Evidentiary Hearing Record


      Mr.   Williams   was    not   targeted   by   the   IRS    for    criminal

investigation until after one of its agents attempted to interview

him as a witness-client of another IRS target, the now convicted

felon, Henry Timothy. The IRS investigation of Henry Timothy began

as a result of an IRS criminal investigation of one of Timothy’s

other clients, C.D., who owned a home health company.                  In 2017,

IRS Special Agent Lori Marable began investigating employment tax

irregularities of C.D.’s home health care company; C.D.’s tax

returns were prepared by Henry Timothy.             Ultimately, SA Marable

and the IRS declined to prosecute C.D., a black female who does

not hold public office. 6       SA Marable declined prosecution after

she   corroborated     that   the   home   healthcare     company      paid   its

employment    taxes,    the   company’s    gross    income      was    correctly

accounted for and accurately reported on its tax returns, and the

amount of personal expenses in the business account was de minimis

and did not meet (unspecified) prosecution guidelines.




6 SA Marable testified that she did not present the case against
C.D. for prosecution because she “couldn’t pin down the
responsibility of the party” and “when you can’t pinpoint and show
who is responsible or the amount of tax wouldn’t have been
anything, then that’s the reason why we decided to close the case.”
Evid. Hrg. Tr. p. 81-82 (“[e]ven though there were a lot of
expenses, there were a number of family members that were involved
in the business.”).
                                      7
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      The IRS investigation of C.D. led to other targets.           Although

SA Marable declined to prosecute C.D., she decided to pursue an

investigation against C.D.’s tax preparer, Henry Timothy, when

Marable established that Timothy failed to declare all of his

income from his tax preparation business for tax years 2013 through

2016. 7


      The IRS investigation trajectory is relevant to government

intent and must also be considered in the context of Schedule C

tax investigations generally.       Schedule C tax investigations are

“complicated     and     time-consuming”     because     IRS   agents     must

“interview    numerous    people...not     only   the   subjects   [but   also

those] who paid the subjects.”        Tr. p. 82 (SA Marable).           Agents

must interview people, prepare and analyze spreadsheets as well as

subpoena and analyze bank statements, tax returns, and other

documents.     Tr. p. 82.    There are “many levels of approval for a

case to open, and there’s even more levels for a case [to be]

prosecuted.”    Tr. p. 122 (SA Moore).        SA Marable testified that,

in investigating Mr. Timothy, she decided to contact some of his

clients that appeared on the IRS-generated Scheme Development

Center spreadsheet; she sorted the data and focused on those with

higher income and expenses and those whose expenses “looked like



7 According to the government, the admission of the unreported
income resulted in an additional tax liability of approximately
$88,593.
                                     8
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they were falsified.”             Tr.p.62.       SA Marable testified that Mr.

Williams was one of Mr. Timothy’s clients whom she selected to

interview because his tax returns appeared to contain “false

items.”    Tr.p.64.         Similarly, SA Moore testified that the extent

of the personal expenses he saw on Mr. Williams’ Schedule C was

“concerning” and warranted a further look to see if they were

legitimate or not.          Tr. p. 126.


       There   is    some    confusion       regarding      whether     SA    Marable’s

original investigation of Mr. Timothy focused on Mr. Timothy’s

conduct as tax preparer or his conduct respecting his own taxes.8

SA Marable testified that her Timothy “investigation started off

as   verifying      what    Mr.   Timothy       was    reporting   on   his    own   tax

returns.”      Tr. p.67.      She was investigating Mr. Timothy for “not

reporting his income.”            Tr. p.76.           But as to why she sought to

interview Mr. Williams as a witness in Mr. Timothy’s investigation,

SA Marable stated that when the IRS investigates a tax preparer,

the agents have an option to pursue charges based on false items

on the preparer’s own returns or false items on the clients’

returns; she did not have to decide which angle to pursue at the



8 Special Agent Jennifer Lopez-Martinez, who acted as secondary
agent to SA Marable for witness interviews in the Timothy
investigation, testified that SA Marable would know better as the
case agent, but indicated that the IRS was investigating Mr.
Timothy “about his preparation for tax returns,” looking into
whether he “put[] bad information or bad deductions on his clients’
tax returns.” Tr. p. 129.
                                            9
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time she opened the Timothy investigation.             Tr. p.77.   When asked

whether Mr. Timothy had ever been investigated for putting false

information on his clients’ returns, SA Marable responded “I only

investigated him [for] not adding his business profit to his

Schedule C.”     Tr. p.89.


      SA Marable investigated and interviewed Timothy in 2018 and

referred him for prosecution in the latter part of 2019.                    Tr.

p.79. 9 She first approached Timothy as a target on May 15, 2018.

In pulling Henry Timothy’s information, SA Marable determined that

his tax return information did not match the number of tax return

clients he said he had.        As part of the Timothy investigation, SA

Marable    contacted   and   attempted      to   interview    several   Timothy

clients to verify their identities and to verify that Timothy was

their tax preparer.       Tr. p.63 (SA Marable decided to interview

some of Timothy’s clients that appeared on the spreadsheet to

verify the tax return information “and I was also interviewing

them based upon the fact that Mr. Timothy prepared their return.”).

To select which Timothy clients she would interview, SA Marable

utilized information from the IRS Scheme Development Center, which

generates    a   spreadsheet    that   lists     all   tax   preparer   subject



9 Ultimately, Henry Timothy was charged by bill of information on
September 22, 2020; of the four charges of willfully subscribing
a false tax return, in violation of 26 U.S.C. § 7206(1), related
to falsifying his own Schedule C gross receipts, Timothy recently
pled guilty to one count.
                                       10
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clients; the spreadsheet contains information included on a tax

return.     From the spreadsheet, SA Marable determined which Timothy

clients had high expenses or high income and whose income and

expenses “looked like they were falsified.”             Tr. p.62.        “[W]hen I

look at a tax return [having] work[ed] for the IRS for...over 10

years,”     SA    Marable   testified,    “I   can   look   at    a   spreadsheet

and...say...this does not look right or this does not add up to

what a tax return should look like, especially if it looks like it

has false information on it.”         Tr. p.63. 10


       Jason Williams was one of Timothy’s clients whom SA Marable

contacted        for   witness   interviews    in    October     2018.     Before

attempting to interview Mr. Williams, SA Marable had pulled Mr.

Williams’ tax returns to review them, as she routinely does when

interviewing witnesses in IRS investigations. Tr. p.68. 11                   Among




10  When asked about selecting witnesses to interview from a
spreadsheet of hundreds of clients: “there’s a number of things
that...you look at when you are pulling witnesses.”       Tr. p.74.
This includes whether it appears that there is any false
information (such as expenses that should not be included), whether
they are repeat clients, what type of business the client operates.
With respect to the latter, type of business, SA Marable observed
that certain businesses like a home health company, restaurant, or
construction company, generally have more employees and more
expenses compared to an attorney or law firm.
11 Had Special Agent Marable interviewed Jason Williams as a witness

in her Henry Timothy investigation, as part of the “direct method”
of investigation, she testified that she would have gone over his
tax return and asked him questions about his tax liability. She
would have “ask[ed] him questions concerning his tax return, who
prepared it, the items on the tax return.... I have to determine
                                         11
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the factors she considers when selecting witnesses to interview,

SA Marable selected Mr. Williams to interview “based on his level

of income and the expenses, just looking at the Schedule C part.”

Tr. p.73.   When SA Marable “saw [Jason Williams’] tax information

-- his tax return looked like they had ... false items on it.”

Tr. p. 64. 12   At the time she looked at his tax returns and decided

to interview him, SA Marable knew that Mr. Williams was an attorney

because that information was listed on the spreadsheet; she did

not know that he was a sitting city councilman, nor did she know

that he was a declared candidate for District Attorney. Tr. p.

84. 13   When SA Marable attempted to interview Mr. Williams, she

attempted to interview “a number of people that day, and Mr.

Williams just happened to be one of those people.”            Tr. p.73. 14

She does not remember names, and during her Timothy investigation,



who put the numbers, who was doing this information, whether he
looked at his own return[.]” Tr. p.66-67.
12 SA Lopez-Martinez never reviewed Mr. Williams’ tax information;

only SA Marable did because SA Marable was the case agent. Tr. p.
130.
13 SA Marable, a black woman who did not know that Jason Williams

was a public official when she scheduled the November 5 interview,
testified that she did not select Mr. Williams as a witness to
interview because he is a black man or because he was a candidate
for district attorney or because he was a sitting city councilman.
14 SA Marable never investigated Mr. Williams as a target and she

never referred him for investigation by another agent. Tr. p.77.
SA Lopez-Martinez confirmed that they sought to interview Mr.
Williams solely as a witness in the Timothy investigation. Tr. p.
130.   SA Lopez-Martinez’s activity in the Timothy investigation
was limited. SA Marable was the case agent and SA Lopez-Martinez
was merely “the secondary on potential witness interviews.” Tr.
p. 135.
                                    12
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she was not able to interview any Timothy client despite her

efforts.


       Her first attempt to contact Jason Williams as a witness in

her Henry Timothy investigation was when SA Marable stopped by

unannounced at Mr. Williams’ house on October 22, 2018; 15 otherwise

engaged,     he    asked   her   to    contact    his   assistant   and    make   an

appointment, which she did, scheduling a meeting for November 5,

2018. 16   SA     Marable,   the      case    agent   in   the   Timothy   matter,

accompanied by Special Agent Jennifer Lopez-Martinez, as secondary

for witness interviews, went to Mr. Williams’s law office at the

scheduled time on November 5, 2018.               But Mr. Williams did not show

up for the meeting.          SA Marable and SA Martinez-Lopez left his

office after waiting for two hours.                Neither agent knew that Mr.

Williams was a public official or running for office; neither

supposedly was upset or insulted about the failure of a witness to



15 In attempting to interview Mr. Williams, SA Marable told Mr.
Williams that “I [am] here to discuss [your] tax liability” and
she testified that she typically tells witnesses she attempts to
interview that they are not under investigation, but that she needs
to speak with them in a witness capacity. Tr. p.69.
16 Meanwhile, Councilman Williams’ announcement that he would run

for Orleans Parish District Attorney in 2020, and that he was
“committed to...reform[ing]” the office, was reported by the media
on October 24, 2018.    Neither SA Marable nor SA Lopez-Martinez
knew this information when they attempted to interview Mr.
Williams.    It is unclear precisely when the other IRS agents
involved in the investigation discovered Mr. Williams’ declared
intent to run for District Attorney; the October 24, 2018 article
was included by SA Moore in his request to open a grand jury
investigation in January 2019.
                                             13
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appear for an interview.         Both testified that it is commonplace

for witnesses to fail to appear for IRS interviews. 17


       After leaving Mr. Williams’ office, the agents attempted to

contact Mr. Williams at his house, but he was not at home.              From

there, the agents went to an IRS office, where both learned for

the first time from a now-retired IRS supervisor that Mr. Williams

was a sitting city councilman.        Tr. p. 84. 18


       It is standard protocol for IRS agents in the field to report

to their supervisors if they attempt to interview or make contact

with a witness whom they discover is a public official.                After




17 SA Marable was not angry that the meeting did not occur; she is
used to it.      Tr. p. 85 (“People always don’t show up for
appointments and things like that.”). She did not try to schedule
another meeting: “when it came to Mr. Williams, I just decided,
okay, well, I guess he doesn’t want to meet, and that was the end
of it.” Tr. p. 86. When her supervisor asked whether SA Marable
wanted to pursue the matter with Mr. Williams, either as a witness
or as a target, SA Marable told him that she did not want to take
on another case outside of Baton Rouge, where she had moved. Tr.
p. 86, 87. Ultimately, in her investigation of Henry Timothy, SA
Marable had trouble locating and speaking with witnesses, which
led her to pursue an “indirect method” of investigation, which
includes resorting to summonses to review clients’ information.
When SA Marable attempted to interview Mr. Williams, she went to
interview “a number of people that day, and Mr. Williams just
happened to be one of those people.”     Tr. p.73.   She does not
remember names and she was not able to interview any other Timothy
client as a witness in her Timothy investigation. If she spoke
with any Timothy clients, SA Marable asked them to send invoices
for her to review. Tr. p.67.
18 It was Supervisory Special Agent Marilyn Cherie who told SA

Marable and SA Lopez-Martinez that Jason Williams was a city
councilman.
                                      14
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learning that Jason Williams was a public official following the

failed      interview    attempt,    SA     Lopez-Martinez        advised   her

supervisor, Supervisory Special Agent Gregoire, that she and SA

Marable had attempted to interview Jason Williams as a witness in

SA Marable’s investigation of his tax preparer, but that Jason

Williams failed to meet with them.            Tr. p.130 (“[O]nce we found

out [Jason Williams] was a councilman in the New Orleans area,” SA

Lopez-Martinez testified, “that is when I took it upon myself to

inform my manager that he was a councilman.”).              SA Martinez-Lopez

also reported to SSA Gregoire that SA Marable told her (SA Lopez-

Martinez) that Jason Williams’ tax returns were “egregious.”                Tr.

p. 131 (SA Lopez-Martinez told SSA Gregoire that “there’s a witness

who is a councilman and Lori says his returns are egregious.”).

SSA Gregoire instructed her “not to speak to Jason Williams after

that point.” 19    SA Lopez-Martinez did not then advise SSA Gregoire

that    there   were    other   Timothy    clients   whom    SA   Marable   had

determined had “egregious” tax returns; she only told SSA Gregoire

about Jason Williams because IRS agents in the field have an

obligation to advise their supervisors when they encounter a public

official as a potential witness.           Tr. p. 132-33.




19   Gregoire said she gave this order as a courtesy to Mr. Williams.
                                      15
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       In addition to supervising SA Lopez-Martinez, SSA Gregoire 20

also supervises IRS Special Agent Tim Moore, who also works with

the    FBI   public   corruption   squad. 21      After   SA   Lopez-Martinez

reported that she and SA Marable had attempted to interview a city

councilman whose tax returns appeared “egregious” or to contain

“false items,” SSA Gregoire then asked IRS Special Agent Moore to

“[t]ake a look into Mr. Williams’ tax matters.”            At that time, SSA

Gregoire     was   “not   even   aware     that   Mr.   Williams   was   being

investigated by FBI.” 22




20 IRS Supervisory Special Agent Kristie Gregoire has been with the
IRS for 20 years and in a supervisory capacity for more than six
years.    Gregoire attended elementary school, high school, and
college at the same schools as Mr. Williams’ ex-wife, Bridget
Barthelemy. When confronted with a list of her Facebook “friends,”
Gregoire denied being a social person, denied “travel[ling] in the
same social circles” as the Barthelemys, and stated that her
familiarity with the Barthelemys was not (and need not be)
disclosed in any of the investigative paperwork. Barthelemy and
Williams had a bitter divorce; Barthelemy is listed as a government
witness in the special agent’s report. SSA Gregoire has not had
any contact with Mr. Williams or Ms. Barthelemy in years; any
contact with Mr. Williams in past years involved “pleasant
conversation.”
21 SSA Gregoire supervised IRS Special Agent Lori Marable until

2017 when Marable left Gregoire’s group; Gregoire had no knowledge
regarding SA Marable’s investigation of Henry Timothy in 2018.
Because SSA Gregoire supervises SA Lopez-Martinez, who was
secondary to Marable when Marable and Lopez-Martinez attempted to
interview Jason Williams as a witness in Marable’s investigation
of Henry Timothy as tax preparer, SSA Gregoire then became aware
that Jason Williams was a potential witness in an investigation
for a case against his tax preparer and that the IRS case agent
who had reviewed Jason Williams’ tax returns reportedly described
them as “egregious.”
22 SSA Gregoire testified that she was not aware and that she does

not think SA Moore was aware that the FBI investigation was
                                      16
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     In addition to his IRS duties, SA Tim Moore has also been

assigned    to    the    FBI     public    corruption       squad   since       2002;    he

regularly works with Special Agent Goodson on public corruption

matters.     Tr. p. 90.          When his boss, SSA Gregoire, asked him to

look into Mr. Williams’ taxes on November 7, 2018, Moore was

generally aware, having overheard from other FBI agents, that there

was an FBI investigation into Mr. Williams, but he did not know

the specifics.         Tr. p. 91.       For this reason -- because SA Moore

was aware that the public corruption unit had been investigating

Williams    --    SA    Moore    knew     that    Jason   Williams        was    a    public

official.     SSA Gregoire told Moore that SA Marable attempted to

interview Mr. Williams but did not make contact and SSA Gregoire

said she wanted SA Moore “to look into Mr. Williams’ situation.”

Tr. p. 93.        When asked whether SSA Gregoire wanted SA Moore to

look into Mr. Williams “because he was a public official,” SA Moore

stated:    “Well,      he   is   a   public      official    and    his    tax       returns

apparently looked egregious to the agents that had seen them.”

Tr. p. 94.       Soon after SSA Gregoire asked SA Moore to take a look

at Jason Williams’ taxes, on November 7, SA Moore prepared an IDRS




underway when she first asked SA Moore to look into Mr. Williams’
taxes. She does not recall when SA Moore told her that the FBI
didn’t have anything (i.e., did not have evidence to pursue
charges), but she “would assume that had to be well into 2019.”
In any event, she and SA Moore did not have much of a conversation
about the FBI investigation because she “was just focused on IRS
violations.”
                                            17
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to request Mr. Williams’s tax returns:            “the first thing I do, as

in any case because I work for the IRS, is pull copies of the tax

returns, see what they look like.”               Tr. p. 113.       SSA Gregoire

approved the IDRS form information request on November 8, 2018. 23


       From   looking   at   Mr.     Williams’    tax   returns,    SA   Moore’s

impression was that Mr. Williams’ “net profit was really low, just

that and his year after year after year I began to look more, saw

a newspaper article where he had tax liens in the past going back

to 2001, so there’s some history there.”                Tr. p. 115.      As for

the relevance of looking at whether Mr. Williams made a profit, SA

Moore    testified    that   “most    people,    if   their   business   is   not

profitable, they are not going to stay in business long, especially

not year after year after year. I would assume attorneys work

really hard, and I don’t think they would go through all that not

making any money.” Tr. p. 115-16.




23 On November 7, 2020, SA Moore submitted an IDRS Request
requesting Mr. Williams’ tax return information; SSA Gregoire
signed off on this “information item” on November 8, 2018. It was
this IDRS form that authorized SA Moore to pull up Mr. Williams’
(and Ms. Barthelemy’s) tax returns for 2012 to 2017. SSA Gregoire
testified “[w]e always have to have an IDRS form because we have
professional staff who pull the IDRS information, the taxpayer
information for us, and all of that has to be documented and
saved.”

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       SA Moore testified “[t]hen between November 7 and probably

the second week of January [2019], I was trying to develop to see

if the Schedule Cs are accurate or not.” Tr. p. 113. He explained:


       So I would take a look at Mr. Williams’ lifestyle. I
       looked at the bank accounts that were available, looked
       at the expenditures that were coming out of the law firm
       account. At the end of the day, I was able to pull
       together what we call a grand jury package, with my
       findings between those two months, to predicate a full
       investigation to see if there’s merits [sic] to this
       case.

       ...

       The first thing I looked at was his tax returns. Based
       on those it’s worthy of a further look. Based on that
       I think I checked the property records, looked at some
       bank records that were available to me. I was going to
       be spending some time on it because it looked like there
       was merit to it, so we opened up a primary investigation.
       As I said, in January [2019] I had enough, because I
       have to go through a stringent approval process, for a
       subject criminal investigation to be opened.

Tr. p. 114.     SA Moore was able to obtain Mr. Williams’ bank records

in November 2018 because “[t]he FBI had them.”           Tr. p. 114. 24      In

looking at the bank records, SA Moore testified, “the main thing

was all the items what appear to be personal expenditures that

were being spent from the law firm accounts seemed very excessive.


24SA Moore approached the FBI after SSA Gregoire asked SA Moore
to look at Mr. Williams’ tax returns; the FBI did not approach SA
Moore.
     SSA Gregoire testified that SA Moore told her that the FBI
had been investigating “possible allegations of kickbacks.” “[A]t
some point, [Special Agent Moore] told me [the FBI] didn’t have
anything, but I cannot recall when exactly that was.”     For his
part, SA Moore does not recall talking to Gregoire about the FBI
investigation.
                                      19
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So it was worthy of us looking at it further to see if something

was there.”     Tr. p. 115.


       SA   Moore   testified    that   he    prepared     a   document   that    he

believed to be potential personal expenditures; a document he

attached to his approval packet.             Tr. p. 116.       Government Exhibit

6 is a preliminary spreadsheet Moore prepared between November 7

and the next couple months; the spreadsheet was meant to capture

“the totality of the potential bad [or personal] expenditures at

the time...probably around three-quarters of a million dollars[,]

includ[ing]     mortgages   on    various     property[,]       gym   memberships,

vitamins, hair salons, student loan debt, personal tax liability

debt, things that aren’t legitimate business expenses.”                    Tr. p.

117.    In total, SA Moore determined that there were approximately

40 different classifications of personal expenses “gleaned from

the bank records” or which SA Moore “suspected at the time ended

up on the business Schedule C of the tax returns.”                    Tr. p. 117-

18.     SA Moore testified that “it was done year after year after

year.    So it wasn’t like it was a one-time thing, a one-year thing.

I think I covered five years in that particular spreadsheet.”                    Tr.

p. 118.     Once this spreadsheet was prepared, SA Moore to wanted

investigate further in order to determine the validity of what the

records might indicate is happening.             Tr. p. 118.




                                        20
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     SA Moore prepared a November 30, 2018 Memo recommending the

initiation of a “primary investigation” into Jason Williams; he

explained that Government Exhibit 3 is “a document that [the IRS]

use[s] to open a preliminary investigation, which it basically

means we are going to spend some time seeing if this case meets

the criteria for a full investigation.”         Tr. p. 111.      The Memo

states that “It is alleged that the subject is receiving kickbacks

in exchange for city contracts and filing tax returns.”          SA Moore

included   that   information   in   this   document   because   SA    Moore

“definitely would have spoken to the FBI...between November and

December” of 2018. Tr. p. 112 (“[B]etween November 7 and December

10, I definitely spoke with Todd Goodson to confirm that [the FBI]

had an investigation [into Jason Williams], seeing if they were

willing to work together should we have something that would be

able to be predicated.”).       In the portion of the Memo inquiring

whether the investigation is “impactful[,]” specifically, whether

there are “factors adding to the investigations potential impact

(media attention, notoriety of the subject, etc.)[,]” SA Moore

indicated “Yes – notoriety[.]”


     After SA Moore compiled the preliminary spreadsheet, looked

at the tax returns and bank records, and pulled the property

records, he “felt like [he] had enough to send it through the

approval process to open it up to a full investigation.”              Tr. p.


                                     21
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119-20.      SA Moore cannot launch a full investigation without

approval.         Opening up a full investigation is a layered process:

“it has to go through [SSA Gregoire], it has to go through [SA

Moore’s] ASAC [Assistant Special Agent in Charge] and [his] SAC

[Special Agent in Charge,] as well as internal legal counsel to

see if there’s justification to open the case, and then it goes to

DOJ tax for their concurrence.”               Tr. 120.      Additionally, at the

end   of    the    investigation    by   the    time   SA   Moore’s      report    was

finished, the case went through “a very stringent approval process”

including     grand     jury   investigation,      DOJ      Tax,   and    the     U.S.

Attorney’s Office.


      IRS    case     agent    SA   Moore’s     request     for    a   grand      jury

investigation into Jason Williams was submitted into the record.

This form was prepared by SA Moore on January 11, 2019.                      Tr. p.

107-08.     An October 24, 2018 news article reporting Williams’ 2020

bid for DA was included as an attachment to SA Moore’s request for

a grand jury on the IRS Form 9131.             SA Moore testified that it is

important to keep his supervisors apprised if he is investigating

a public official as a target; this information must be included

in a report because “[u]pper management wants to know what’s going

on...and make sure we are not doing something that’s going to

embarrass us[.]”       Tr. p. 121-22.




                                         22
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       On January 14, 2019, SSA Gregoire reviewed and concurred in

SA Moore’s request to expand the grand jury investigation. 25                              On

February     19,    2019,   the    Special      Agent    in   Charge      reviewed        and

concurred     in    SA   Moore’s       request    to     expand     the     grand     jury

investigation.


       When asked by counsel for the government whether he pursued

the    investigation     of    Jason    Williams        because     he    was   a   public

official or running for DA, SA Moore stated that he did not. 26                           SSA

Gregoire testified that she told SA Moore to look at Mr. Williams’

tax returns “because Agent Lopez-Martinez mentioned...that Jason

Williams’     tax    returns      looked   egregious”         and   the    IRS      has    an

obligation to investigate when an agent finds that “someone’s tax

returns look egregious.”             Tr. p. 50.          Similarly, SSA Gregoire

testified:


       Q. When you spoke with Agent Moore, did you tell him
       that he should look into this and make this a top
       priority?



25 It was by this time -- the time the request for a grand jury
investigation was made -- that SSA Gregoire was aware that Williams
was running for DA.
26 See Tr. p. 119:

Q.    Did you take any action in this case just because [Jason
Williams] is a public official?
A. No.
Q. Have you taken any action in this case because he is running
for district attorney?
A. Of course not.
Q. Did you take any action in this case because he is black?
A. Of course not.
                                           23
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     A. I just asked him to look into it, and that’s what we
     do.

     Q. What specifically did you want him to look into?

     A. If what Special Agent Lopez-Martinez said, if there
     was anything egregious on his tax returns; if not, then
     no worries.

     Q. If he had not ... found anything, what would have
     happened with the matter?

     A. Nothing. It wouldn’t have gone anywhere.

     ...

     Q. Did you ask Agent Moore to look into this matter
     because he was a sitting city councilman for the City of
     New Orleans?

     A. No. Again, it was because of the “egregious” comment.

     Q. Did it have anything to do with the fact that he had
     declared in October of 2018 that he was considering
     running for district attorney?

     A. Definitely not.

Tr. p. 51-52.


   The Changed-Story of the Government’s Star Witness Against

                           Williams/Burdett


     In addition to the evidence elicited during the October 22

evidentiary hearing is the record evidence that supported the

defendants’ request for the hearing.         Again, the Court assumes

familiarity with prior proceedings and the previously submitted

evidence and arguments.




                                   24
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       Mr. Williams was visited by FBI and IRS agents on April 23,

2019.     That same day, FBI Agent Todd Goodson and IRS Agent Timothy

Moore interviewed Henry Timothy about Jason Williams.             According

to the FBI 302 27 for Timothy’s April 23 interview, Timothy told the

agents that he used spreadsheets and backup documents provided by

Nicole Burdett to prepare Jason Williams’s taxes.            Timothy stated

that he would provide a filing authorization to Ms. Burdett, she

would return the authorization signed by Mr. Williams, and then he

(Timothy) would file the returns.           Nowhere in the FBI 302 does it

indicate that Timothy said that Ms. Burdett would pressure him to

take improper deductions. When the agents questioned Timothy about

specific items on Mr. Williams’s 2012-2107 tax returns, at no time

did Timothy say that Ms. Burdett instructed him to take any of

these deductions.       Nothing from Timothy to inculpate Burdett or

Williams in the April 23 interview.


       Three days after Timothy was interviewed by federal agents,

Mr.     Williams’s   attorney    met   with    Timothy. 28   Timothy    made



27 “The term ‘302’ refers to an FBI form bearing that number, which
serves as an ‘official interview memorandum.’” United States v.
Beaulieu, 973 F.3d 354, 357 n.1 (5th Cir. Aug. 31, 2020)(quoting
United States v. Davis, 971 F.3d 524, 533 (5th Cir. 2020)).
28 The government takes issue with consideration of unrecorded

statements by Timothy to defense counsel, anticipating that such
statements may not be used at trial unless defense counsel
withdraws from the representation and prepares to be called as a
witness.    There is nothing before the Court on this particular
issue. The Court need not (and would not) advise defense counsel
on their obligations or any limitations concerning the informal
                                       25
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statements similar to those made to the agents on April 23, 2019:

he    stated   that      Ms.   Burdett   would   bring   him   Mr.   Williams’s

QuickBooks and other records, that he would prepare the tax returns

and send a filing authorization to Ms. Burdett, and then he would

file Mr. Williams’s tax returns upon receipt of the authorization.

Mr. Timothy stated that he (Timothy) made the decisions about what

deductions should be taken, that he would ask Ms. Burdett for

clarification       if     necessary,     and    that    he    did   everything

appropriately. Timothy stated that there was nothing unusual about

Mr. Williams’s taxes and the last thing he wanted to do was to get

Mr. Williams in trouble.


       During a second interview with federal agents along with the

U.S. Attorney on November 5, 2019, Timothy initially repeated

similar statements he made to the FBI in April 2019 -- that he

reviewed Mr. Williams’s records and determined what expenses could

be deducted:




Timothy interview. And the government, which has charged Henry
Timothy for criminal conduct relating to his own tax returns, is
well aware that Timothy’s credibility as the star government
witness will be challenged at trial, and the source of this
challenge extends beyond statements Timothy apparently made to
defense counsel pre-indictment.   It is the government’s conduct
that the defense targets and any inconsistencies in Timothy’s
statements, insofar as they serve as a predicate to the
government’s prosecution theory, are presented by the defendants
in an attempt to prove selective or vindictive prosecution,
although they might well target issues of innocence.
                                         26
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       BURDETT was an attorney but was also the office
       administrator for WILLIAMS. BURDETT communicated with
       TIMOTHY by telephone and brought the QuickBooks details
       to TIMOTHY. The QuickBooks details were paper copies
       that included profit and loss statements, balance
       sheets, general ledger, and financials. If TIMOTHY had
       any questions, TIMOTHY called BURDETT and BURDETT would
       relay the questions to WILLIAMS. TIMOTHY also prepared
       BURDETT’s personal taxes for tax years 2013 through
       2017.

       BURDETT retrieved the tax preparations from TIMOTHY
       including the tax forms 8879. BURDETT provided the items
       to WILLIAMS who then signed the tax forms 8879. BURDETT
       then returned the signed forms to TIMOTHY and TIMOTHY
       electronically filed the tax returns.    TIMOTHY stated
       that there were no questions about the completed
       returns.

See Defense Ex. E, p. 2. 29      During this 11/5/19 interview, Timothy

took a break and, for some unexplained reason, met with his

attorney in a private room.         Once the interview resumes, Timothy

changes his story.         When the interview resumes, the FBI 302

indicates:


       TIMOTHY stated that BURDETT asked TIMOTHY to lower the
       amounts owed on the tax returns.

       ...

       TIMOTHY felt he had a personal relationship with BURDETT
       and he needed to make WILLIAMS and BURDETT happy.

       ...

       TIMOTHY did things he should not have done.




29Exhibit E is the FBI 302 from the government’s 11/5/19 interview
of Timothy; the form indicates that it was drafted on 11/6/19 and
“entered” on 11/18/19.
                                      27
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That    the    prosecution      accepted      Timothy’s       changed    without

verification and contrary to the evidence indicates an improper

prosecutorial motive, the defendants submit.            The defendants point

to evidence that contradicts Timothy’s changed story (thereby,

incidentally, also undermining the prosecution’s theory of its

case-in-chief).      For example, post-indictment, in response to

requests for production and admission sent to Timothy by defense

counsel, Timothy through his counsel:


       admitted that at the time Defendant Timothy prepared
       each tax return for filing by Jason Rogers Williams,
       [Timothy] believed that the deductions...Timothy claimed
       on the return were appropriate and consistent with law.

And, the government knew that Timothy prepared Mr. Williams’s tax

returns with Inuit Pro Series tax software, but it failed to ask

Timothy   to   produce    electronic    records.        In    response   to   the

defendants’    request    for   production,     the    defendants    discovered

evidence indicating that there were no draft tax returns for Mr.

Williams, there were no alterations to the deductions on Mr.

Williams’s return, and that Timothy simply prepared a final return

shortly    before   the   deadline     each    year.         According   to   the

defendants, not a single document corroborates Timothy’s claim

that Ms. Burdett asked him to lower the amounts owed on Mr.

Williams’s taxes.    And Ms. Burdett’s records (which the government

did not request) are consistent with Timothy’s original statement

that he prepared the returns on his own.                 The Timothy-Burdett

                                       28
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communications indicate that Ms. Burdett had to badger Timothy

simply to get the returns sent to her at the last minute; there

are no documents supporting the theory that Timothy prepared draft

returns and then Burdett told him to lower the amounts owed on

those drafts.       There are no draft returns.        That Timothy made the

tax     decisions    for    Mr.   Williams’s     returns   (consistent     with

Timothy’s      original      statement    to     federal   agents)   is    also

corroborated, the defendants submit, by documents with Timothy’s

handwriting on the P&L statement copies. 30


       More   closely      scrutinizing    the   government’s   conduct,    the

defendants submit that the government during its investigation

ignored the testimony of Timothy’s other tax clients who stated

that Timothy took deductions on his own without that client’s

participation or knowledge.              On June 5, 2020, the government

interviewed J.B., a former contractor employee of Mr. Williams who



30 Timothy’s original statements (suggesting that he determined
which deductions to take) are supported by the documentary
evidence, the defendants submit.     For example, although Timothy
most recently indicated to federal agents that he did things he
should not have done, the deductions plainly list such things as
“political” contributions, which Timothy only recently suggests he
knew was improper. Why, the defendants ask, if Timothy actually
believed that including “political” contributions was something he
should not have done, did Timothy so blatantly disclose the expense
for political contributions and not characterize it as something
else? And the defendants point out that the government failed to
investigate: Timothy’s misrepresentation to his clients (that he
was a CPA) and his false claim that he earned a Master of Business
Administration; both investigated by the defendants and shown to
be absolutely false.
                                         29
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also was a tax client of Timothy.                  When the government pointed out

that Timothy deducted $22,000 for supplies, $4,000 for meals and

entertainment, $1,700 for utilities, in addition to deductions for

uniforms and membership fees” on J.B.’s tax return, J.B. stated

“that’s insane” and that he had not previously noticed those

deductions.      The government did not challenge J.B.’s assertion or

its implication (that Timothy took the deductions on his own,

without       J.B.’s    participation          or    knowledge),         stopped     asking

questions of J.B., and apparently also ceased interviewing other

Timothy clients altogether.


       Three weeks after the government interviewed J.B., and three

weeks before Jason Williams formally announced his candidacy for

District Attorney, Jason Williams and Nicole Burdett were indicted

on federal tax charges.


       In support of the request for an evidentiary hearing in aid

of    their     selective       and       vindictive    prosecution         claims,    the

defendants pointed to the government’s wholesale acceptance of

Timothy’s      changed-story          and   its     failure    to    investigate      other

Timothy       clients      or     Timothy’s          conduct        as    tax      preparer

notwithstanding         what      the       IRS     Scheme     Development         Center’s

spreadsheet conveys -- excessive deductions taken across the board

by     Timothy’s       Schedule       C     clients.    The     government-generated

spreadsheet summarized all tax returns filed by Timothy (on behalf

                                              30
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of his clients) from 2013 through 2016.               This production shows,

the defendants submit, that Timothy consistently took aggressive

deductions for all clients: Timothy made deductions that virtually

eliminated his clients’ income.             Spreadsheets compiled by the

government or by defense counsel based on the government’s document

production     indicate    the    following.    From     2013    through   2016,

Timothy’s clients reported a total of $71,982,007 in Schedule C

income.      A total of $62,146,980 was deducted from those returns

(with Timothy at the helm as tax preparer), leaving taxable income

of $9,835,027.          The defendants’ appreciation of the evidence

regarding Timothy’s other clients is that Timothy took the same or

more deductions for other clients, and the government is not

prosecuting any of them. 31           It is impossible, the defendants

conclude, to consider this information and not determine that

Timothy’s changed story is fabricated, and (it follows) that

Timothy     determined    which    deductions    to    take     deductions   for

Williams, without pressure from Burdett.             The only explanation for

the government’s deliberate ignorance of this fact, the defendants

suggest,     is   its   years-long   pursuit    of    Mr.   Williams   and   its




31 Ms. Burdett is the exception.   In addition to being indicted
along with Mr. Williams regarding Mr. Williams’s taxes, the
government recently indicted Ms. Burdett in a separate indictment
concerning her conduct related to her own taxes. Mr. Williams and
Ms. Burdett are apparently the only Timothy clients being
prosecuted or investigated; the government only investigated (but
declined to prosecute) C.D.
                                       31
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selective and vindictive decision to prosecute him (and Ms. Burdett

as collateral damage).


       Claiming that the evidence amply demonstrates that they were

indicted in violation of their constitutional rights to equal

protection and due process, Jason Williams and Nicole Burdett now

renew their motion to dismiss the 11-count indictment. 32


                                      I.


       A   motion   to   dismiss   the     indictment   for     selective   and

vindictive prosecution must be raised before trial.               See Fed. R.

Crim. P. 12(b)(1), 12(b)(3)(iv)(“A party may raise by pretrial

motion any defense, objection, or request that the court can

determine without a trial on the merits[,]”             and a    party “must”

raise by pretrial motion “a defect in instituting the prosecution,

including ... (iv) selective or vindictive prosecution[.]”).


       Claims of selective or vindictive prosecution are “not ...

defense[s] on the merits to the criminal charge itself, but ...

independent assertion[s] that the prosecutor has [either] brought



32In many respects, Ms. Burdett’s selective prosecution theory is
derivative of Mr. William’s; and her vindictive prosecution claim
concerns more directly what is now a new indictment against her
respecting her own tax returns. The Court granted Ms. Burdett’s
motion to adopt her motion, briefing, and evidence, and also
granted the government’s similar motion to adopt its briefing
concerning Ms. Burdett’s claims pertaining to the new indictment
in Criminal Action Number 20-139.
                                      32
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the charge [or used the charging process in retaliation] for

reasons   forbidden       by    the   Constitution.”           United   States   v.

Armstrong,      517    U.S.    456,   463      (1996)(selective     prosecution);

Bordenkircher     v.     Hayes,    434    U.S.    357,   363   (1978)(vindictive

prosecution).         When asked to exercise judicial oversight over a

“special province” of another branch of government, the Court is

mindful of its limitations, deference, and duty to indulge a

presumption “that [prosecutors] have properly discharged their

official duties.”        Armstrong, 517 U.S. at 464 (citations omitted).

To be sure, in limited circumstances, the presumption may be

dispelled.      Whether such rare circumstances are clearly presented

here is placed at issue in the pending motions.                           The Court

addressed the vast breadth of prosecutorial discretion in its

August 20, 2020 and October 8, 2020 Orders and Reasons; the

principles underpinning the presumption of regularity owed to

prosecutorial decisions are squarely challenged, and ultimately

dispositive, here.


                                          A.

                           Prosecutorial Discretion

     In   our    federal       criminal   justice    system,     “[t]he    Attorney

General and United States Attorneys retain ‘broad discretion’ to

enforce the Nation’s criminal laws.” United States v. Armstrong,

517 U.S. 456, 464 (1996)(citing Wayte v. United States, 470 U.S.

598, 607 (1985)).        The breadth of this discretion finds its source
                                          33
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in statute and constitutional separation-of-powers doctrine.                    See

id. (“[t]hey have this latitude because they are designated by

statute as the President’s delegates to help him discharge his

constitutional responsibility to “take Care that the Laws be

faithfully     executed.”)(citations         omitted).      To   be    sure,    “the

decision   to       prosecute   is   particularly    ill-suited       to   judicial

review.”   Wayte, 470 U.S. at 607.           A “’presumption of regularity’

[attaches to] prosecutorial decisions and, ‘in the absence of clear

evidence to the contrary, courts presume that they have properly

discharged their official duties.’”               Armstrong, 517 U.S. at 464

(“A selective-prosecution claim asks a court to exercise judicial

power   over    a    ‘special   province’    of   the    Executive.”).         Thus,

ordinarily, “so long as the prosecutor has probable cause to

believe that the accused committed an offense defined by statute,

the decision whether or not to prosecute and what charge to file

or bring before a grand jury, generally rests entirely in his

discretion.”        Bordenkircher v. Hayes, 434 U.S. 357, 364 (1978).

For good reason, as the Supreme Court observed:


     Judicial deference to the decisions of these executive
     officers rests in part on an assessment of the relative
     competence of prosecutors and courts. “Such factors as
     the strength of the case, the prosecution’s general
     deterrence   value,    the   Government’s   enforcement
     priorities,   and  the   case’s  relationship   to  the
     Government’s overall enforcement plan are not readily
     susceptible to the kind of analysis the courts are
     competent to undertake.”


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       It also stems from a concern not to unnecessarily impair
       the performance of a core executive constitutional
       function. “Examining the basis of a prosecution delays
       the criminal proceeding, threatens to chill law
       enforcement by subjecting the prosecutor’s motives and
       decisionmaking to outside inquiry, and may undermine
       prosecutorial    effectiveness    by    revealing    the
       Government’s enforcement policy.”

Armstrong, 517 U.S. at 465 (citing Wayte, 470 U.S. at 607).


       Though   broad,     prosecutorial      discretion        is   not   completely

“unfettered[; s]electivity in the enforcement of criminal laws is

... subject to constitutional constraints.”                     Wayte, 470 U.S. at

608 (citing United States v. Batchelder, 442 U.S. 114, 125 (1979)).

When     presented   with     a    selective        or     vindictive      prosecution

challenge, the Court may review decisions to prosecute in limited

circumstances to ensure that the decision is not the product of

individual or institutional abuse or “deliberately based upon an

unjustifiable standard such as race, religion, or other arbitrary

classification, including the exercise of protected statutory and

constitutional rights.”            Id. (citing Bordenkircher, 434 U.S. at

364-65)); Armstrong, 517 U.S. at 464-65 (the equal protection

clause of the Fifth Amendment forbids (selective) prosecution

based upon race, religion, or other arbitrary factor); United

States     v.   Goodwin,     457    U.S.     368,        373   (1982)(prosecutorial

vindictiveness is a due process violation for it “punish[es] a

person because he has done what the law plainly allows him to

do[,]” but it is difficult to prove considering that “[m]otives

                                        35
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are complex” and “[t]he imposition of punishment is the very

purpose of virtually all criminal proceedings.”).


                                       B.

                           Selective Prosecution


       A selective prosecution claim puts at issue whether “the

prosecutor has brought the charge for reasons forbidden by” the

equal protection component of the Due Process Clause of the Fifth

Amendment.      Armstrong, 517 U.S. at 463.         The Fifth Amendment’s

equal protection component 33 forbids the prosecution from pursuing

a particular criminal case based upon an “unjustifiable” factor

such as race, religion, or some other arbitrary classification.

See Armstrong, 517 U.S. at 464.          Of course, “the mere exercise of

some selectivity by the government in instituting prosecutions is

not itself a constitutional violation.”          United States v. Greene,

697 F.2d 1229, 1234 (5th Cir. 1983).


       Armstrong    supplies    the     test   applicable   for   selective

prosecution claims and corresponding requests for discovery.             And

it erects quite a hurdle.             See Armstrong, 517 U.S. at 463-65

(describing the standard as “demanding” and “rigorous” and a

“significant barrier” and demanding “clear evidence” from the


33 Unlike the Fourteenth Amendment, the Fifth Amendment does not
contain an equal protection clause, but it contains an equal
protection component. Wayte, 470 U.S. at 609 n.9. Regardless,
the Supreme Court’s equal protection approach is the same. Id.
                                       36
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defendant).        The burden is on the defendant to present clear

evidence;      “making      ...     a    prima     facie       showing    of   selective

prosecution is a difficult task” -- “few parties have succeeded in

shifting the burden of proof to the government.”                       Greene, 697 F.2d

at 1235.


     To succeed on a selective prosecution claim, the defendant

must satisfy a two-pronged test: first, the defendant must show

that the prosecution had a discriminatory effect and, second, the

defendant must establish that the prosecution was motivated by a

discriminatory purpose.             Armstrong, 517 U.S. at 463-65.               To make

a prima facie showing of discriminatory effect, “in a race case,”

for example, Armstrong instructs, “the claimant must show that

similarly      situated      individuals         of    different       races   were   not

prosecuted.”        Id. at 465.           There must be some symmetry among

comparators.       See, e.g., United States v. Bass, 536 U.S. 862, 863-

64 (2002)(“raw statistics regarding overall charges say nothing

about charges brought against similarly situated individuals”).


     Isolating first the threshold -- discriminatory effect --

component,      the      defendant       must    proffer       individuals     similarly

situated     to    the     defendant       save       for     the    alleged   protected

characteristic; individuals that could have been, but were not,

prosecuted.         After    all,       ordinary      equal    protection      principles

apply,   and      such    violations      are    anchored       to   claims    that   some

                                            37
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improper selection has taken place; that is, disparate treatment

--    singularly    prosecuting           the     defendant     with      the     protected

characteristic      --    notwithstanding            others’    similar         conduct    and

characteristics.         See Armstrong, 517 U.S. at 467.                  In configuring

the    universe    or    pool       of   comparators,     the       focus       remains    the

comparators’       conduct       and       characteristics          compared        to     the

defendant’s,       in    light      of     factors    material       to     a    reasonable

prosecutor’s       decision         to     prosecute.          If    the        conduct    or

characteristics          of     a        proffered     comparator           “present        no

distinguishable         legitimate         prosecutorial       factors          that     might

justify making different prosecutorial decisions with respect to

them[,]” then the comparator may be considered similarly situated

to the defendant for equal protection purposes.                      See United States

v. Venable, 666 F.3d 893, 900-01 (4th Cir. 2012)(citing United

States v. Olvis, 97 F.3d 739, 744 (4th Cir. 1996)).


       Mindful     that       “legitimate          prosecutorial          factors”         are

themselves blunt instruments in the task of defining the realm of

charged criminal conduct, the Court must strike a balance.                             On the

one hand, the Court may not insist on precision or complete

identity of comparators and the accused questioning the asymmetry

of treatment; to do so would yield too cramped a configuration

rendering the effects-showing by defendants per se impossible.                              On

the other hand, the Court must ensure that the pool of similarly


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situated offenders is sufficiently narrowly tailored to account

for   the    constellation    of     factors      that   permissibly    informs

prosecutorial      discretion.       To    be   sure,    some   selectivity    in

enforcement of the federal criminal laws is mandatory given the

reality     that   “with   limited    law       enforcement     resources,    the

Government is unable to prosecute every crime that is committed.”

See United States v. Brantley, 803 F.3d 1265, 1271 (11th Cir.

2015).      To achieve the requisite balance, then, courts compare

relatively similar culpable conduct, that is, “the same basic

alleged crime committed in substantially same manner” and consider

the characteristics of the comparators and the accused in light of

whether prosecution would achieve the same enforcement priorities,

such as deterrence value.          See United States v. Smith, 231 F.3d

800, 810 (11th Cir. 2000).


      Isolating the second -- discriminatory purpose -- component,

the defendant must show that the government prosecuted him “because

of, not merely in spite of” the unjustifiable factor or arbitrary

classification such as race or the desire to prevent exercise of

his constitutional rights.         See Wayte v. United States, 470 U.S.

598, 610 (1985)(“[D]iscriminatory purpose ... implies more than

... intent as awareness of consequences. It implies that the

decisionmaker ... selected or reaffirmed a particular course of

action at least in part because of, not merely in spite of, its


                                      39
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adverse effects upon an identifiable group.”)(internal citations,

quotations omitted).       If the defendant satisfies this tall-order

prima facie effects-and-purpose test, “then the burden shifts to

the government to demonstrate a legitimate basis for selecting the

defendant for prosecution.”          United States v. Hoover, 727 F.2d

387, 389 (5th Cir. 1984)(citing Greene, 697 F.2d at 1235)). 34


                                      C.

                           Vindictive Prosecution


       “To punish a person because he has done what the law plainly

allows him to do is a due process violation ‘of the most basic

sort.’” United States v. Goodwin, 457 U.S. 368, 372 (1982)(quoting

Bordenkircher v. Hayes, 434 U.S. 357, 363 (1978)).            A prosecutor’s

use of the charging process solely as a penalty for exercising a

constitutional      or   statutory   right,   such    as   pursuing   a   post-

conviction     appeal,    violates   due   process.        United   States   v.

Saltzman, 537 F.3d 353, 359 (5th Cir. 2008)(citation omitted);

North Carolina v. Pearce, 395 U.S. 711, 725 (1969)(the Due Process



34 The standard applicable to a request by a defendant seeking
discovery from the government in aid of a selective prosecution
claim is “correspondingly rigorous.” See Armstrong, 517 U.S. at
463, 465-66, 468 (observing that Rule 16 of the Federal Rules of
Criminal Procedure is inapplicable to selective prosecution
claims, which are distinct from defenses to the substantive
charges).    The Court already determined that the defendants
discharged their discovery burden and granted a limited
evidentiary hearing in aid of their selective and vindictive
prosecution claims. See Order and Reasons dtd. 10/8/20.
                                      40
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Clause of the Fourteenth Amendment “requires that vindictiveness

against a defendant for having successfully attacked his first

conviction must play no part in the sentence he receives after a

new trial.”).      Prosecutorial vindictiveness must be proved by the

defendant by a preponderance of the evidence.              Saltzman, 537 F.3d

at 359.     The defendant may do so in one of two ways:            (1) present

objective evidence that a prosecutor’s actions were designed to

punish him or her for asserting his or her legal rights, which is

proof of actual vindictiveness; or (2) show sufficient facts to

give rise to a presumption of vindictiveness, which may be overcome

by objective evidence justifying the prosecutor’s actions.                  Id.

(because a presumption of vindictiveness may apply even absent

proof of improper motive, such a presumption only applies “where

there     exists   a   realistic    likelihood       of   vindictiveness.”). 35

Success on either course is rare, particularly in the pre-trial

context.     See Goodwin, 457 U.S. at 381 (“There is good reason to

be     cautious    before   adopting    an       inflexible   presumption    of

prosecutorial      vindictiveness      in    a    pretrial    setting[:]    the

prosecutor’s assessment of the proper extent of prosecution may

not have crystallized[; t]hus, a change in the charging decision




35 A presumption of vindictiveness may arise, for example, if a
defendant is re-indicted, post-conviction, especially if the
prosecutor increases the number or severity of the charges after
the defendant appealed his conviction. See Blackledge v. Perry,
417 U.S. 21, 27-29 (1974).
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made after an initial trial is completed is much more likely to be

improperly motivated than is a pretrial decision.”).


     Most courts decline to endorse a categorical rule against

presuming vindictiveness in the pretrial setting; indeed, most

courts   indulge   the   possibility    (at   least    in    theory)    that   a

presumption of vindictiveness may apply to prosecutorial conduct

pretrial.   However, in practice, the peculiarities and systemic

realities of the pretrial context are relevant to (and often

dispositive of) vindictiveness claims. Cf. United States v. Brown,

298 F.3d 392, 404-05 (5th Cir. 2002)(citing United States v.

Krezdorn, 718 F.2d 1360, 1364 (5th Cir. 1983)(en banc)). Consider,

for example, the reality of the criminal justice system’s wholesale

acceptance of the plea-bargaining process.        It is settled that the

constitution   tolerates    a   prosecutor’s     use        of   its   charging

discretion to attempt to persuade the defendant to forego his

future trial right and his right to plead not guilty.                       See

Bordenkircher v. Hayes, 434 U.S. 357, 364 (1978).                      Thus, in

Bordenkircher, where the prosecutor made good on its threat to add

an additional charge if the defendant did not plead guilty to the

existing charge, the Supreme Court held this was a permissible

(and not vindictive) act of prosecutorial discretion because there

was no “punishment or retaliation.”       Id. at 363 (“in the give-and-

take of plea bargaining, there is no such element of punishment or


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retaliation so long as the accused is free to accept or reject the

prosecution’s offer.”).           In so holding, the Supreme Court thus

distinguished between an impermissible attempt to punish the past

exercise of appeal rights (as in Blackledge) and the permissible

attempt to persuade the defendant not to exercise his future trial

right. See id. at 363; see also Goodwin, 457 U.S. at 376 (observing

that the Pearce and Blackledge decisions “reflect a recognition by

the Court of the institutional bias inherent in the judicial system

against the retrial of issues that have already been decided[;]

the same institutional pressure ... might also subconsciously

motivate a vindictive prosecutorial or judicial response to a

defendant’s exercise of his right to obtain a retrial of a decided

question.”).


     In     evaluating    a   claim      of   vindictiveness,   a    threshold

consideration      is   whether    the   prosecution    seeks   to   punish   a

defendant    for    the   conduct     constituting     the   crime   allegedly

committed or, rather, to punish him for exercising a protected

right.    Insofar as Bordenkircher stands for the proposition that

there is no protected right not to cooperate, a defendant claiming

that the prosecution filed additional charges due to a failure to

cooperate cannot prevail on a vindictive prosecution claim.              See,

e.g., United States v. Long, 823 F.2d 1209 (7th Cir. 1987)(per

curiam). In Long, the Seventh Circuit rejected a defendant’s claim


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of vindictive prosecution based upon drug charges filed after the

defendant    refused   to   cooperate      in   a   police   officer   bribery

investigation.    The Seventh Circuit observed that the due process

protection against vindictive prosecution “kicks in only when the

government acts in response to the defendant’s exercise of a

protected right.”      Id. at 1211.     The Seventh Circuit explained:


     This realization sinks both of [the defendant’s] claims
     of prosecutorial vindictiveness, because of Roberts v.
     United States, 445 U.S. 552[] (1980)[, which] holds that
     a district court may properly consider, when imposing
     sentence, a defendant’s refusal to cooperate. The Court
     found that, far from having a right not to cooperate,
     every citizen has a duty to cooperate and report criminal
     activity, a duty grounded in the responsibilities of
     community life.    [The defendant] claims that he was
     treated adversely because he refused to cooperate;
     Roberts says the government may penalize such a refusal,
     and so under Goodwin and Bordenkircher there is no due
     process violation.



Id. (finding that “there could be prosecutorial vindictiveness

only if his refusal resulted in treatment harsher than would have

occurred if the government had not sought his assistance.”); accord

United States v. Williams, 47 F.3d 658, 662 (4th Cir. 1995)(“If it

is constitutionally permissible to use the threat of more severe

punishment to encourage a guilty plea, certainly it is legitimate

to use the same tactics to encourage a defendant to cooperate with

the authorities in the criminal investigation and prosecution of

another.”)



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      Further confining the scope of vindictiveness presumptions in

the   pretrial   context,   the   Supreme   Court   has   held   that     no

presumption of vindictiveness arises merely because additional

charges are filed after a defendant requests a trial by jury.           See

Goodwin, 457 U.S. at 383.     It follows that “[t]he mere fact that

a defendant has made pre-trial motions is not sufficient to raise

a presumption of prosecutorial vindictiveness.”       See United States

v. Barner, 441 F.3d 1310, 1319 (11th Cir. 2006)(citing Goodwin,

457 U.S. at 381).     That pretrial motion practice is an expected

and inherent part of the criminal justice system’s process, the

Supreme Court has observed, is insufficient standing alone to give

rise to a presumption of vindictiveness:


      [A] defendant before trial is expected to invoke
      procedural rights that inevitably impose some “burden”
      on the prosecutor.     Defense counsel routinely file
      pretrial motions to suppress evidence; to challenge the
      sufficiency and form of an indictment; to plead an
      affirmative defense; to obtain access to government
      files; to be tried by a jury.     It is unrealistic to
      assume that a prosecutor’s probable response to such
      motions is to seek to penalize and to deter.        The
      invocation of procedural rights is an integral part of
      the adversary process in which our criminal justice
      system operates.



Goodwin, 457 U.S. at 381.         Even when a defendant specifically

alleges prosecutorial misconduct by pretrial motion, such a motion

is not so unusual that a vindictiveness presumption is warranted.

See Barner, 441 F.3d at 1320 (“Since [the defendant] did not


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prevail on this [prosecutorial misconduct] motion, the government

had no obvious reason for vindictive retribution.”).


       Thus, where the prosecution files new or additional charges

after an initial indictment but before trial, a defendant must

generally prove actual vindictiveness, which can be achieved only

by showing “objectively that the prosecutor’s charging decision

was motivated by a desire to punish him for doing something that

the law plainly allowed him to do.” Goodwin, 457 U.S. at 384.                As

the case literature demonstrates, such a showing generally cannot

be made by a defendant claiming, without more, that additional

charges were filed before trial after he or she declined to

cooperate,     or     after   filing    pretrial    motions   challenging   the

indictment.      Such ordinary events or occurrences inherent in the

nature of the criminal justice system do not generally offend due

process. 36


                                         II.

       The    Court    previously      determined   that   dismissal   of   the

indictment for selective or vindictive prosecution was premature;



36Without the benefit of a presumption, defendants must resort to
proving actual vindictiveness, which requires objective evidence
that the addition of charges was designed to punish the exercise
of protected rights. At the risk of underscoring the tautology
inherent in the framing of the vindictiveness test, evidence of
actual vindictiveness is notoriously difficult to marshal
considering the reality that motives are multifaceted and
difficult to prove.
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however, the defendants discharged their burden sufficient to

warrant limited discovery in aid of their claims.                         See Order and

Reasons   dtd.   10/8/20.       Following       an    evidentiary          hearing   and

additional    briefing,   the       Court    now     takes    up     the    defendants’

selective prosecution claim.          Have the defendants proved that the

government singled out Jason Williams and Nicole Burdett for tax

fraud investigation and prosecution because it was motivated by a

desire to interfere with Mr. Williams’ right to hold or run for

public office?    That the government made its decision to prosecute

in good faith and in the normal course remains the starting line

presumption and continues unless rebutted by clear evidence to the

contrary.      Although the defendants have presented evidence to

satisfy their burden as to the discriminatory effect component of

their   claim,   there    is   insufficient          evidence        of    governmental

discriminatory    purpose      in    pursuing      these      tax     fraud    charges.

Critically absent from the record is evidence clearly establishing

that, in charging the defendants with tax fraud, the prosecution

acted out of a desire to prevent Mr. Williams from exercising his

First Amendment right to hold or run for public office.                         Even if

the defendants managed to dispel the presumption of regularity by

proving discriminatory intent, there is evidence in the record

supporting legitimate prosecutorial motivations for pursuing the

present     indictment,   which      independently           dooms    the     selective

prosecution claims.

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       A.     The Discriminatory Effects Showing

       In support of the disparate treatment (effect) prong of

Armstrong, not much has changed since the defendants submitted

some evidence showing different treatment of purportedly similarly

situated      persons   entitling   them   to    limited    discovery.       The

proffered universe of comparators is Timothy’s other Schedule C

tax return clients. 37     The government continues to dispute whether

the Timothy clients have been shown to be relevantly similarly

situated to Mr. Williams and Ms. Burdett, but the substance of the

government’s objection to the defendants’ selective prosecution

submission is more properly and concretely considered not in this

threshold “effect” showing, but, rather, in analyzing the evidence

of bad faith versus legitimate government intent.               True, at some

level    of    abstraction,   Mr.   Williams    and   Ms.   Burdett   (and   Mr.



37In offering Schedule C comparators, Mr. Williams and Ms. Burdett
focus on the tax fraud conduct (26 U.S.C. § 7206(2)) to the
exclusion of the additional charges that they face (31 U.S.C. §§
5331, 5332).    The government does not dispute the defendants’
submission that no one in the Eastern District of Louisiana has
been charged with these Title 31 violations at least in the past
50 years. The Court neither glosses over nor ignores that there
are certain characteristics of the universe of Timothy clients
that are absent from the record, which hinders the Court’s task in
determining whether they are sufficiently relevant comparators in
material   respects   for  prosecution   purposes.     Since   its
unsuccessful investigation of C.D., the government had elected not
to investigate any Henry Timothy client. Insofar as there is some
missing information, then, it is not within the control of the
defendants. Indeed, it is within the power of the Executive branch
and the Court thus proceeds to consider whether the selection
process was infected by unconstitutional motives.
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Timothy, who has been charged by bill of information relative to

his own tax returns) are dissimilar in terms of race, gender, and

public official status.         But the defendants proffer the IRS Scheme

Development Center’s spreadsheet -- which is the data source that

ultimately prompted agents to select Mr. Williams to interview as

a witness -- as the concrete source identifying other taxpayers

utilizing Mr. Henry Timothy to prepare their tax returns; tax

returns that share the criminally-significant (or -- at least

according     to   the   very    IRS   agents   involved   in   this   case    --

investigation-worthy)       characteristic      of   aggressive    Schedule     C

deductions.     As for the protected characteristic involved here, it

appears undisputed that no other Henry Timothy client was either

a sitting public official or a candidate for office.

       From the government’s document production, the defendants

proffer an analysis of the tax returns filed by Mr. Timothy on

behalf of his many clients from 2013 through 2016.                According to

the data on the IRS-generated spreadsheet, Mr. Timothy treated Mr.

Williams     the   same    way    he    (Timothy)    treated    each   of     his

approximately 1,500 Schedule C clients.                Mr. Williams and the

rest of Timothy’s Schedule C clients are small business owners who

hired Timothy to prepare their taxes and Timothy took aggressive

Schedule C deductions for all of them. 38           Yet Mr. Williams, a black


38This fact, it is submitted, undermines Timothy’s changed story
(and the prosecution’s theory) that Timothy took aggressive
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sitting public official and (at the time of the investigation)

declared candidate for a different public office, and his law

partner Ms. Burdett, are the only Timothy clients being prosecuted

for tax fraud.

     Attaching as Exhibit O to their original motion to dismiss a

38-page   spreadsheet,    the     defendants    proffer     these    aggregate

numbers for comparison’s sake: from 2013 through 2016, Timothy’s

clients reported a total of $71,982,007 in Schedule C income. With

Timothy   as   tax    preparer,     the    clients   deducted   a    total   of

$62,146,980 from these returns, leaving $9,835,027 in taxable

income. This objective evidence shows that aggressive deductions

were taken on behalf of Timothy’s clients, which the defendants

contend   indicates    that   the    government      has   blindly   accepted

Timothy’s changed story that he made aggressive deductions for Mr.

Williams because Ms. Burdett pressured him to do so.

     The defendants offer this chart for comparison and in support

of their discriminatory effect theory:




deductions for Mr. Williams only because Ms. Burdett or Mr.
Williams pressured him to do so by telling him to reach some sort
of bottom line. Implied in this submission is the suggestion that
the government failed to investigate Mr. Timothy’s potential
culpability across the board for decisions he made on his clients’
returns in its single-minded pursuit of an investigation and
charges against Mr. Williams.     A classic defense strategy to
challenge substantive charges: pointing out failures or shoddy
aspects of an investigation.
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       Name       Business    SchC:             SchC:      SchC:
                              Gross Income      Deductions Profit/Loss
J.BROW.         Construction $985,614           $978,170   $7,444
                service
H.LA.           Seafood       $867,596          $827,159      $40,437
                processing
C. DOU.         Home health   $798,891          $771,211      $27,680
H. CO.          Restaurant & $617,891           $590,430      $27,461
                lounge
WILLIAMS        Attorney      $578,569          $493,334      $85,225
L.KI.           Auto     body $435,705          $421,470      $14,235
                and powder
DUP.            Renovations   $371,912          $345,145      $26,767



This    chart   exemplifies   the   high   across-the-board    Schedule   C

deductions for Timothy clients.        Yet the government confirms that

it has not investigated any of them, save C.D., whom it declined

to prosecute.

       During   the   evidentiary   hearing,   defense   expert   Certified

Public Accountant Harold Asher testified, adding relevant context

concerning the data of all tax returns filed by Henry Timothy as

tax preparer from 2013 through 2016. Mr. Asher generally testified

consistently with his sworn declaration.        He extracted information

from the spreadsheet and compared it to information included in

the IRS’s statistical tables.       Mr. Asher made certain observations

relevant to the defendants’ effects-prong showing:


  •    From his review of the IRS spreadsheet of all tax returns
       filed by Mr. Timothy between 2013 and 2016, it appears that


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       Mr. Timothy took excessive deductions for almost all of his
       (more than 1,000) Schedule C clients.
  •    Based on the IRS statistical tables, Mr. Asher would expect
       Mr. Timothy’s Schedule C clients with gross revenues of more
       than $100,000 to report 27-30% of their gross revenue as net
       taxable income, but Mr. Timothy’s Schedule C clients with
       gross revenues of more than $100,000 reported an average of
       8.44% of their gross revenue as net taxable income. Asher
       Decl. ¶ 16.
  •    Based on the IRS statistical tables, Mr. Asher would expect
       Mr. Timothy’s Schedule C clients with gross revenues of more
       than $200,000 to report 27-30% of their gross revenue as net
       taxable income, but Mr. Timothy’s Schedule C clients with
       gross revenues of more than $200,000 reported an average of
       5.81% of their gross revenue as net taxable income. Asher
       Decl. ¶ 17.


From    this   deviation   in   net   taxable   income   for   Mr.     Timothy’s

Schedule C clients, Mr. Asher “suspect[s] that Mr. Timothy may

have been taking excessive deductions across the board for most or

all of his Schedule C clients, and perhaps others.”                  Asher Decl.

¶ 18.    More generally, Mr. Asher opined that tax preparers (and

not the clients) generally used discretion in how to categorize

services and expenses.      “You give the raw data to the tax preparer,

and the tax preparer decided whether [and] where one cho[oses] to

report the expenses.”       Tr. p. 141-42.      If Mr. Asher prepared the

tax returns, he as the tax preparer “would only put the expenses

that me, with my training and experience, know are allowable and

deductible...[tax]     preparers       [must]   determine      the     propriety

of...expenses” included on the return.           Tr. p.160 (“I don’t know

what the investigator did in this case, but I would wonder why if

the...personal nature is so transparent why those items ever got

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on    a    tax   return    because   me,    as   tax   preparer,   face   massive

penalties, criminal and civil, for putting [blatantly personal]

items on the tax return.”).            As a forensic fraud examiner, Mr.

Asher testified that there were “hundreds, if not over a thousand”

Timothy clients that he “would be interested in looking deeper

into their returns.”          Tr. p. 144-45.       A few that Asher selected

were analyzed in some detail.

          For its part, the government elicited testimony confirming

that, out of all of Timothy’s clients, Jason Williams was the only

attorney, indeed, the only “professional.”               When asked by counsel

for the government, Mr. Asher confirmed that he did not recall

comparing Mr. Williams’ returns to any other attorneys, or any

medical doctors, CPAs, or other professionals.                 Tr. p. 163-64.

Among the Timothy clients more closely scrutinized by Mr. Asher

were truckers, contractors, fisherman, and security and police

detail. 39

          In some detail, the defendants proffered similarly situated

Timothy client, C.D., who was investigated for tax irregularities

but not charged.          Because C.D. was investigated, more information


39  Given that the differences among the Timothy clients more
relevantly bear on the issue of whether the prosecution’s motive
or purpose was legitimate or discriminatory, the Court returns to
the   government’s    arguments    and   observations    regarding
distinguishing features of Timothy comparators when addressing the
discriminatory purpose or legitimate motive aspect of the
selective prosecution calculus.
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is known about her.         During the four years that Timothy prepared

the taxes for C.D.’s home health company, C.D. paid $35,000 on

$3,537,277 in income.         The government submits that “SA Marable

declined prosecution on C.D.” for several reasons including that

the tax harm was “de minimis for criminal tax proceedings”; the

government concluded that the tax harm “did not meet prosecution

guidelines.” 40 Prosecution was declined, the defendants point out,

despite the fact that the IRS found that many of C.D.’s deductions

from the business’s gross earnings were for personal expenses,

that C.D. “regularly withdraws cash, issues a check to herself, or

transfers money from the business account into her personal account

on a bi-weekly basis,” and that the “business account does contain

personal expenses such as [C.D.’s] children’s tuition for school.”

       The only other Timothy client interviewed by the government

was J.B., who was a former contractor employee of Mr. Williams.

Stating that Timothy was solely responsible for determining which

deductions     to   take,   J.B.   admitted   --   after   being   shown   the

deductions during his interview with the government -- that $27,700

in improper deductions were included on his tax return.                    The

government did not challenge J.B.’s assertion that Timothy took

the deductions (for supplies, meals, entertainment, utilities,


40 The government’s characterization that SA Marable herself
“declined prosecution” belies any prosecution-versus-enforcement
dichotomy in the selective or vindictive prosecution realm. Or at
least the issue was not briefed by the parties.
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uniforms, and membership fees) without J.B.’s participation or

advance express consent.       J.B.’s situation is like the defendants’

yet, the defendants submit, the government persists with its

prosecution theory directed only at Mr. Williams and Ms. Burdett

and supported only by Timothy’s changed story (that Ms. Burdett

pressured him to take deductions).

       Summing up its parts, the totality of this discriminatory

effects     evidence    is   rather   compelling. 41        The     IRS   Scheme

Development Center spreadsheet, extracted data, plus the analysis

identified by the defendants and their expert CPA supports the

defendants’      selective    prosecution     theory   in     its     aggregate

suggestion      that   all   of   Timothy’s    clients      took     aggressive



41How does this discriminatory-effects evidence measure up to the
case literature? Cf. United States v. Hoover, 727 F.2d 387 (5th
Cir. 1984)(first part of the substantive selective prosecution
test met where Hoover was one of three air traffic controllers
prosecuted out of over 300 whom failed to report to work in the
Houston area in violation of a federal statute prohibiting U.S.
government employees from participating in a strike against the
government).   In Hoover, all of those who potentially could have
been prosecuted fell into a readily discernible category as those
who were prosecuted: air traffic controllers in the Houston area
who failed to report to work on a particular day. Here, although
there   might   be   more   differences   relevant   to   informing
prosecutorial discretion among the class of Timothy clients, the
record indicates that the government had some discretion in
pursuing a case against Timothy as tax preparer and that SA Marable
identified a number of Timothy clients with “false items” on the
returns prepared by Timothy. Yet the government has pursued only
two Timothy clients out of more than a thousand for which
aggressive Schedule C deductions were made.



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deductions    (with    Timothy,      the    tax   preparer,   as     the   common

denominator); yet, only Jason Williams and Nicole Burdett are being

prosecuted.       Given    the   circumstances     and    prosecution      theory,

considering Exhibit O and the pool of Timothy clients whom are not

being investigated nor prosecuted, the Court previously found that

the defendants submitted “some evidence” supporting Armstrong’s

effect   component    sufficient      to    warrant     development    during   a

limited evidentiary hearing.         The undisputed objective data, much

of it compiled by the IRS and indicating that hundreds of Henry

Timothy’s Schedule C clients took excessive deductions, remains

relatively uncontested by the government.

     This    is   hardly    flimsy    evidence     of    disparate    treatment.

Timothy had more than one thousand Schedule C clients during the

relevant time frame.         Timothy’s clients reported an average of

5.81% (for those with gross revenues exceeding $200,000) or 8.44%

(for those with gross revenues exceeding $100,000) of their gross

revenue as net taxable income compared to the much higher national

average of 27% to 30%.       Many of Timothy’s clients took deductions

similar to Mr. Williams or higher: for example, C.D. reported

$3,537,277 in revenue from 2013 to 2016 and paid taxes on only

$91,000.     Construction company owner J.B. reported $1,986,744 in

revenue for 2013 and paid taxes on only $62,035.               And contractor

R. reported $1,306,912 in revenue from 2013 to 2016 and paid taxes

on only $8,633.       Yet the government has chosen to prosecute Mr.
                                       56
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Williams on the theory (supported by Mr. Timothy’s changed story)

that Timothy was pressured by his clients to take aggressive

deductions.

       The Court remains mindful that the government has identified

some distinguishing features among Timothy client-comparators,

which the Court addresses later in the context of whether such

distinguishing      features   could   reasonably      inform   prosecutorial

motive. 42      However,   when   considering    the    objective   evidence

comparing Timothy’s Schedule C clients somewhat in isolation from

the remaining equal protection calculus, the Court is not required

to indulge the possibility of coincidences. The defendants have

convincingly identified similarly situated comparators -- other

return preparers or Timothy clients who routinely prepared returns

containing allegedly “false items” or Schedule C deductions much

more aggressive than the national averages -- who are outside of

the protected class that could have been prosecuted, but were

not. 43



42 The qualitative “differences” among Timothy clients that
government identifies are less directed to crimes that could be
charged than characteristics it insists inform its discretion and
enforcement priorities; these differences are more relevant to the
government’s burden to show legitimate enforcement priorities
informed their motivation and will be addressed below.
43 This conclusion is informed by evidence elicited at the
evidentiary hearing, including that IRS SA Marable apparently had
some discretion in focusing her investigation into tax preparer
Henry Timothy. SA Marable could have pursued an investigation and
recommend charges concerning Mr. Timothy’s conduct as tax preparer
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       Regardless of whether the Court explicitly finds or merely

assumes that the prosecution’s conduct -- in selecting two Timothy

clients for investigation and prosecution out of more than one

thousand with aggressive Schedule C deductions that are much higher

than the statistical averages suggest is ordinary -- demonstrates

a discriminatory effect, this is insufficient standing alone to

show an equal protection violation.         The effect or disparity is of

no    moment   absent    improper   motive,   for   some   selectivity       is

constitutionally tolerable considering not all tax crimes may

realistically be prosecuted.          Now, the Court turns to consider

whether the defendants have carried their burden on the second

equal protection showing: discriminatory intent.


       B.   The Discriminatory Intent Showing

       That the defendants have shown others similarly situated

could have been, but were not, prosecuted for tax fraud does not


or she could focus on his fraudulent conduct in preparing his own
returns. That she opted for the latter course does not eliminate
Timothy’s potential culpability or exposure relative to the
former. To be sure, it would be utterly unreasonable to suggest
that Timothy’s charged fraudulent conduct (or capacity) relative
to his own tax returns would be mutually exclusive of any
fraudulent conduct relative to his preparation of those paying him
to prepare returns. Indeed, SA Marable testified that she selected
more than one Timothy client to interview as a witness in her
investigation of Timothy and she generally selected prospective
interviewees    with   apparently    “false   items”    on   their
returns...prepared by Timothy.    The Court need not indulge any
specter of coincidence in the face of the record of discriminatory
effect submitted by the defendant (and in large part generated by
the IRS).
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suffice     to    discharge     the   presumption      of    regularity     afforded

prosecutorial discretion.             Still the Court presumes that the

government made its decision to prosecute in good faith absent

clear proof of the second prong of the selective prosecution test,

that is, “that the discriminatory selection of him for prosecution

is    invidious      or    in   bad   faith,    in    that    it    rests   on   such

impermissible considerations such as race, religion, or the desire

to prevent his exercise of his constitutional rights.” See United

States v. Greene, 697 F.2d 1229, 1234 (5th Cir. 1983)(emphasis

added); United States v. Hoover, 727 F.2d 387, 389 (5th Cir. 1984);

United     States     v.     Webster,    162    F.3d     308,      334    (5th   Cir.

1998)(citations       omitted).         “[T]o   dispel       the   presumption    [of

prosecutorial good faith], a criminal defendant must present clear

evidence to the contrary.”            Armstrong, 517 U.S. at 465 (citation

omitted).        The Court underscores that “’[d]iscriminatory purpose’

implies more than ... intent as awareness of consequences. It

implies     that    the    decisionmaker      ...    selected      or   reaffirmed   a

particular course of action at least in part ‘because of,’ not

merely ‘in spite of,’ its adverse effects upon an identifiable

group.”     Wayte v. United States, 470 U.S. 598, 610 (1985)(citation

omitted).        The defendants must carry a “very heavy burden to show

invidious purpose before the burden shifts to the government to

prove the basis for its prosecution was legitimate.”                     Hoover, 727

F.2d at 392 (citing Greene, 697 F.2d at 1235).

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       Here, the defendants submit that the record shows that the

decision to prosecute Jason Williams (and derivatively, Nicole

Burdett) was made because he is a public official who was then

running for (and now has won) the seat of district attorney.             But

carefully scrutinizing the case literature’s definition of the

nature of the right (or the invoked impermissible consideration)

is critical to determining whether the underlying motive is, in

fact, unconstitutional.         Here, the case literature underscores

that prosecution may not rest on the desire to prevent the exercise

of constitutional rights. 44       Has clear evidence been presented to

support the theory that the decision to prosecute Jason Williams

was based on a desire to prevent him from exercising his right to

hold and run for public office?        No.   Or that he is a black person?

No.     The evidence in the record does not clearly demonstrate an

individual agent’s desire or complicit institutional motive to

prevent Mr. Williams from continuing to serve as city councilman

or a desire to prevent him from running for the office of or


44Perhaps there is some gray area spanning the oversimplification
offered by the defendants (that a prosecution informed by one’s
public official status offends equal protection) and literal
adherence to what the case literature defines as impermissible (a
desire to prevent the exercise of a right, here the right to hold
or run for public office).      But it is settled that political
prominence and media attention may be constitutionally permissible
ingredients for a prosecutor to consider in selecting an individual
for prosecution. See infra at p. 74. This reality combined with
the ample permissible factors informing a prosecutor’s broad
discretion compels application of the stricter formulation
embraced by the case literature.
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serving as District Attorney.           Instead, it is undisputed that an

IRS   agent   unaware    of    Jason     Williams’      political     prominence,

ambitions, and continuing public service took a legitimate look at

Mr. Williams’ tax returns before attempting to interview him as a

witness; and she found ostensibly “false items” on his returns,

which she characterized as “egregious.”               This legitimate first-

look at Mr. Williams’ taxes was what prompted an IRS supervisory

agent to task another IRS agent to look into Mr. Williams taxes.

In the course of advancing through the various bureaucratic steps

attendant to moving from preliminary investigation to grand jury

investigation to prosecution, no government agent suggested that

Mr.   Williams’    public     official    status     or   political     ambitions

status, let alone a government desire or agenda to prevent him

from holding or running for office, motivated the progression of

the   investigation.          Rather,    the   bases      for   escalating   the

investigation     and   ultimately      deciding   to     prosecute    elucidated

during the evidentiary hearing included Mr. Williams’ profession

as attorney (indicating to the prosecution an awareness of his

obligations of the tax laws and thereby ostensibly supporting the

willfulness element of the tax fraud crimes charged), the asserted

perceived flagrancy of the nature and number of personal expenses

deducted from his tax liability, as well as his reported earnings,

lifestyle, and history of tax liens.



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     As   indicated     in     the   background      summary    of   the   evidence

elicited during the October 22 hearing, the IRS’s interest in Jason

Williams started with SA Marable and her investigation of Henry

Timothy   after   investigating        C.D.         When   SA   Marable    and    her

secondary, SA Lopez-Martinez, attempted to interview Williams in

connection with the Timothy investigation, neither agent knew that

Williams was a public official, nor that he had declared his intent

to run for Orleans Parish DA.              There is no dispute, then, that

when SA Marable pulled Williams’ tax returns, she did so as part

of IRS customary practice: before interviewing potential witnesses

who are clients of a tax preparer-target, a case agent in the field

pulls   and   reviews    the     witness’     tax    returns    to   verify   their

information    with     the    intention     of     determining      who   made   the

decisions to include items on the return.                  Given this customary

review of witness tax returns, and considering that SA Marable did

not know that Williams was a public official or running for public

office, SA Marable did not and could not have selected Mr. Williams

out of a desire to prevent him from exercising his constitutional

rights to hold and run for public office.                  There is likewise no

dispute that SA Marable’s review of Williams’ tax returns -- again,

unfettered by any knowledge that he was a public official if that

alone would suffice to constitute an improper motive -- prompted

her to characterize them as potentially containing “false items”

and as “egregious.”           Indeed, she made similar observations with

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respect to other Timothy clients whom she selected for interviews

in the Timothy investigation.     So far, no evidence of malintent.

     After the failed interview attempt, when SA Marable and SA

Martinez-Lopez learned that Mr. Williams was a city councilman,

they informed their respective supervisors.       As is agency custom.

When SA Martinez-Lopez advised SSA Gregoire that she learned that

a potential witness in an investigation of a tax preparer was a

public official whose tax returns had been characterized by the

case agent as “egregious,” SSA Gregoire testified that she asked

veteran IRS Special Agent Tim Moore, who typically handles IRS

investigations into public officials given his assignment to the

FBI public corruption squad, to look into Williams’ taxes.            SSA

Gregoire did so without knowledge that the FBI had underway an

investigation into Mr. Williams for non-tax matters.        SSA Gregoire

testified that the IRS was obliged to look into Williams’ taxes

not because he was a public official or running for DA, but because

it came to her attention that an agent in the field described his

returns as “egregious.”

     The defendants submit that the decision to look further into

Mr. Williams, but not the other Timothy clients whom SA Marable

considered to have returns containing false items, demonstrates

bad faith or singling out Mr. Williams for his public official

status.    But there is no direct evidence that any individual


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agent, or the IRS (or DOJ) as an institution, selected Mr. Williams

to the exclusion of other Timothy clients out of a desire to

interfere with or prevent the exercise of his constitutional

rights. 45    Notably, to the contrary, SSA Gregoire was not advised

that SA Marable had identified other Timothy clients whose tax

returns were “egregious” or contained false items.           So, it cannot

be that SSA Gregoire wittingly selected Mr. Williams for further

investigation while electing not to pursue or examine the “false

items” or “egregious returns” of other similarly situated Timothy


45  Illustrating the government’s true motive in turning its
investigatory sights on Mr. Williams, the defendants submit, are
two newspaper articles. First, the October 2018 newspaper article
announcing Mr. Williams’s candidacy for district attorney; this
article was part of the grand jury authorization request prepared
by SA Moore. Like SA Lopez-Martinez, SA Moore offered a benign or
at least bureaucratic motivation for inclusion of the article when
he testified that he was obliged to keep his supervisors informed
when investigatory targets are public figures. The second article
from August 2020 reporting remarks by then-Attorney General Barr
that were critical of so-called local reformist district
attorneys. However concerning, this suggestion of institutional
disdain stands alone unanchored to any evidence that the agents or
prosecutors in this case considered this (at most) loose policy
directive or (at worst) Executive Branch vendetta. If the Attorney
General’s bias or disdain was executive policy, there is no
evidence of its consideration in informing this prosecution or any
complicity with government actors featured in this case. To be
sure, these media reports may be considered circumstantial
evidence of malintent. Even when considered together with the other
indirect evidence indicative of malintent (such as the timing of
the indictment and the prosecution’s failure to adhere to its own
internal policy concerning election-year prosecutions), however,
and viewing the evidence in the light of the deference owed, this
evidence tends to indicate a government preference to pursue a
politically prominent attorney rather than a desire to prevent the
exercise of constitutional rights, as discussed infra at p. 70-
74.
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clients. 46    That Mr. Williams’ allegedly “egregious” tax returns

came to the attention of a supervisory special agent because of an

ordinary IRS policy to keep supervisors advised of contact with

public officials does not transform the decision to look further

at Mr. Williams’ tax returns from one based on an obligation to

look into an agents’ report of “false items” to one based on a

desire to prevent him from serving as a public official or running

for public office.

       To be sure, the defendants have persuaded the Court that it

is curious and troubling that, to date, the government has failed

to    or   opted   not   to   investigate   either   Timothy’s   conduct     in

preparing his clients’ returns or his other clients’ conduct in

the preparation of their returns. 47              Indeed, the government’s

failure or choice is at its peril considering it will be fair game

for     the   defense    to    challenge    the    incompleteness   of     the

investigation      and    Timothy’s   altogether     manifest    credibility



46 SA Marable testified that she selected other potential Timothy
clients to interview after her initial review of their returns
suggested that they contained false items.       But she could not
recall which other Timothy clients she had intended to interview
and those interviews never occurred; she was forced into an
indirect method of investigation at least in part due to the lack
of cooperation of Timothy clients as witnesses.
47 No doubt the defendants will probe at trial whether this failure

or ostensible willful blindness to an apparent pattern of
widespread fraud (or coincidence of Timothy client outliers)
revealed by the IRS spreadsheet and supported by some Timothy
statements and conduct undermines the prosecution theory on the
substantive charges against Mr. Williams and Ms. Burdett.
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issues.    But the evidence presented does not clearly demonstrate

that the Court must intrude upon the government’s discretion (in

the face of potential tax fraud by Timothy as to many Schedule C

clients and/or by many Schedule C clients) to pursue charges only

against (i) Timothy respecting his own taxes rather than against

Timothy as tax preparer; and (ii) Mr. Williams and Ms. Burdett.

SA Moore’s testimony that he is only concerned with proving the

elements of the crime against Williams and Burdett could, in the

context    of    the   discriminatory       effect   evidence,       suggest     an

unprofessional tunnel-vision.         But in the absence of some proof of

complicity of malintent, the government’s failure even to look

into whom might bear criminal culpability for the ostensibly

excessive tax deductions taken by other Schedule C Timothy clients

is simply fodder to defend against the tax fraud charges at trial.

Possibly an exemplar of innocence.                 Whether the government’s

failure    to    investigate   the    circumstances      of    Timothy’s     other

clients’ “egregious” tax returns is indicative of a shoddy, short-

sighted investigation       will     surely   be   placed     at   issue   by   the

defense.    But the government has wide latitude to determine which

cases to prosecute and this Court may not interfere with the

exercise    of     that   discretion,       absent   a   showing      that      the

Williams/Burdett prosecution is being pursued for an invidious

motive that clearly offends the constitutional guarantee of equal

protection.

                                       66
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       There is simply no evidence indicating that any IRS agent (or

any person in the chain of command escalating Williams from witness

to target to indicted defendant) selected Jason Williams for

further investigation or prosecution because they harbored the

desire to prevent Williams from exercising his constitutional

rights.      In the absence of direct evidence, defendants focus on

some indirect evidence from which it fairly may be inferred that

the government indeed considered Mr. Williams’ status as a public

official as the investigation progressed from taking a look into

“false items” to a full-blown investigation and then prosecution:

the (now former) U.S. Attorney General’s remarks concerning his

generalized distaste for “reformist” District Attorneys; the law

enforcement      agents’   and   prosecution    attorneys’    failure    (or

decision not) to investigate more of Timothy’s clients’ tax returns

to determine whether Timothy as tax preparer (and/or other clients)

bear criminal responsibility for the aggressive business expense

deductions taken; SSA Gregoire’s acquaintance with Jason Williams

and his ex-wife; and the timing of the indictment in contravention

of DOJ policy to avoid interfering with elections. 48            Insofar as


48As a reminder, the DOJ’s policy on “Election Year Sensitivities”
provides:
     [P]olitics must play no role in the decisions of federal
     investigators     or    prosecutors     regarding    any
     investigations or criminal charges.      Law enforcement
     officers and prosecutors may never select the timing of
     investigative steps or criminal charges for the purpose
     of affecting any election, or for the purpose of giving
                                      67
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any of these factors or their cumulation illustrate irregularities

in process manifesting suspicious intent, the oblique nature of

this    collective    evidence      still     falls    short     of   clearly

demonstrating    an   individual    agent,     prosecuting      attorney,    or

institutional desire to prevent Jason Williams from being a public

official or running for office.           The evidence is insufficient to

show that the U.S. Attorney’s Office for the Western District of

Louisiana   singled   out   Jason   Williams     and   Nicole    Burdett    for

prosecution for the purpose of preventing Jason Williams from

exercising his constitutional rights. 49

       The Court has considered the vast record generated thus far;

the defendants fall short of marshaling clear evidence in support

of their claim that this tax fraud prosecution was motivated by an

insidious intent to prevent Jason Williams from exercising his

constitutional rights.      In deciding to prosecute Jason Williams,

the government’s investigatory and prosecutorial conduct may have

progressed as a result of his public official status and may have

incidentally interfered with his duties as city councilman or in

his campaign for District Attorney, but the defendants have not

shown that the government acted out of a desire to prevent Mr.



     an advantage of disadvantage to any candidate or
     political party.
49 This is especially so, considering the genesis of the IRS

investigation; no matter how dubious and concerning the Court finds
the years-long and continuing FBI investigation.
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Williams from exercising his rights; in other words, the evidence

suggests that this prosecution has been pursued in spite of, but

not because of, Jason Williams’ is a sitting public official who

campaigned as a reformist District Attorney candidate. 50

       Put differently, if the indirect evidence put forth sufficed

to     clearly     show   prosecutorial     malintent,    then    politically

prominent     individuals     and   those    running     for   public   office

ostensibly would be immune from prosecution for tax law violations.

The case literature makes clear that that is not the case.                 See,

e.g., Hoover, 727 F.2d at 390 (noting that “union participation by

federal employees is a protected activity, as is leadership of a

union” but also observing that Hoover’s status as an officer does

not shield him from prosecution). Because the record here also

supports     the   finding   that   legitimate   prosecutorial     bases    for

prosecution exist...a finding that reinforces the conclusion that

the defendants have not clearly demonstrated discriminatory motive

among the constellation of constitutionally permissible motives

identified by the case literature and in the record here...the

Court turns to consider this component of the selective prosecution

analysis on which the prosecution bears the burden of proof.




50 Insofar as Nicole Burdett’s selective prosecution theory is
derivative of Jason Williams’, hers is likewise doomed by the lack
of clear evidence supporting improper motive.
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     C.     A Legitimate Basis for Prosecution


     Even    if    the    defendants       proved    discriminatory          effect   and

purpose,    the    burden     would       then   shift    to   the     government      to

demonstrate a legitimate basis for selecting Jason Williams for

prosecution.      Hoover, 727 F.2d at 389 (citing Greene, 697 F.2d at

1235).       “Such       factors    as    the    strength      of     the    case,    the

prosecution’s        general       deterrence        value,     the         government’s

enforcement       priorities,       and    the   case’s      relationship       to    the

government’s overall enforcement plan are not readily susceptible

to the kind of analysis the courts are competent to undertake.”

Wayte v. United States, 470 U.S. 598, 607 (1985).


     Insofar as the defendants’ discriminatory purpose showing is

reasonably segregable from the prosecution’s legitimate basis for

prosecution showing (rather than just a different party bearing

the burden of proving good or bad faith), the Court finds that the

evidence    in    the     record    establishes      that      the    government      has

identified plausible nondiscriminatory factors that informed its

discretion for selecting Jason Williams for prosecution.                              The

government’s      practical        and    nondiscriminatory          reasons    for   its

decision to prosecute only Mr. Williams and Ms. Burdett are well

within     the    wide     range    of     factors    that     permissibly       inform

prosecutorial selection.




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       “Due to limited resources of the government,” the Fifth

Circuit has realistically observed, “there will always be some tax

evaders       and    tax       protestors        who     elude    prosecution         by     the

government.”        United States v. Tibbetts, 646 F.2d 193, 195-96 (5th

Cir. 1981).         Some selectivity in prosecution is constitutionally

tolerable;          for        example,        the       prosecution         may      consider

characteristics           of    offenders       such     as    professional         status    as

attorney and political prominence -- these are not protected

classifications.           Deterrence value is a permissible consideration

in selecting among candidates for prosecution; seeking to secure

general compliance with the tax laws by prosecuting those who

garner media attention is thus permissible.                       See, e.g., Wayte, 470

U.S. at 613 (observing that “prosecuting visible nonregistrants”

with    the    Selective            Service    was   a   compelling       policy      and    “an

effective way to promote general deterrence, especially since

failing       to    proceed          against    publicly       known     offenders         would

encourage      others          to    violate     the     law”).       Indeed,      prosecuting

offenders      that       will       garner     media     attention       and      prosecuting

offenses that the government considers flagrant generally belie

invidiousness because such decisions fall within nondiscriminatory

standards for prosecution.                    See, e.g., Greene, 697 F.2d at 1235

(citing with approval the Eighth Circuit’s holding that potential

media   attention         may       be   a   legitimate       basis    for   selection       for

prosecution given the potential deterrent effect on others and

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given that the government lacks the means to investigate every

suspected violation of the tax laws). The case literature confirms

that selecting only some suspected tax evaders does not, standing

alone, impermissibly infringe upon First Amendment rights.           See,

e.g., United States v. Johnson, 577 F.2d 1304, 1309 (5th Cir.

1978)(decision to prosecute known tax reporting violations may be

informed by such factors as “the flagrancy of the violation, the

amount involved, the special status of the taxpayer... as a CPA or

attorney, the availability of limited investigative personnel, and

other factors unique to a given case” and noting “a legitimate

[government]   interest    in   punishing    flagrant    violators    and

deterring violations by others.”); United States v. Catlett, 584

F.2d 864, 868 (8th Cir. 1978)(insofar as a decision to prosecute

rests upon the amount of publicity one’s protests receive, not

upon the exercise of one’s first amendment right to free speech[,

s]uch a decision is not based upon an impermissible ground but

rather serves a legitimate governmental interest in promoting

public tax compliance with the tax laws.”).

     That political prominence is typically inseparable from the

exercise of First Amendment rights does not render invidiously

discriminatory the government’s deterrence-motivated decision to

prosecute politically prominent individuals.       See United States v.

Hastings, 126 F.3d 310, 314-15 (4th Cir. 1997)(“[A] person’s public

renown may be properly considered among other factors when deciding
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whether to pursue criminal sanctions for a violation of the law.”);

see also United States v. Ojala, 544 F.2d 940, 945 (8th Cir.

1976)(citation omitted)(That “[t]he government lacks the means to

investigate and prosecute every suspected violation of the tax

laws” renders it unsurprising that it chooses to prosecute “those

cases     in   which   the   violations    of   the   tax   laws   appear   most

flagrant.”). 51




51Ojala was an attorney and former Minnesota state representative,
who vigorously opposed the Vietnam war; he campaigned for elective
office on an anti-war platform, served as a draft resistance
counselor, and introduced anti-war resolutions.     It was during
this period of anti-war activity that he decided not to file his
state and federal income tax returns. Id. When he was indicted
for failing to timely file income tax returns, Ojala claimed he
was a victim of unconstitutional selective prosecution, targeted
because he had exercised his First Amendment rights to protest the
Vietnam war.    The district court denied Ojala’s claim after a
hearing, and the Eighth Circuit observed that Ojala made a strong
showing that he was singled out for prosecution while other
similarly situated individuals were not indicted.         He thus
satisfied the effects prong of the selective prosecution test.
Id. at 943.    However, the Eighth Circuit determined that Ojala
failed to demonstrate that the decision to prosecute was made in
reprisal for his outspoken opposition to the war, as opposed to
because   Ojala’s   conduct  was   “flagrant”   and  thus   within
nondiscriminatory standards. Id. at 944 (“We find that initiating
an investigation and prosecution because [a prominent public
figure announced his purposeful refusal to comply with filing
requirements because of his political views] falls well within the
degree of prosecutorial discretion[.]”). The Eighth Circuit also
observed that it had previously upheld, in United States v.
Swanson, a selective program of investigation and prosecution of
attorneys, accountants, and other professionals who customarily
gave tax advice to others and who should have been knowledgeable
about their tax responsibilities. Id. at 944-45 (and citing United
States v. Wiley, 503 F.2d 106, 107 (8th Cir. 1974)).


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       Where the government defends its selection of a defendant for

prosecution     with     concrete,        nondiscriminatory        reasons      later

supported by evidence adduced at trial, the government’s specific

and    legitimate     explanations        generally    suffice       to   defeat     a

selective prosecution claim.         Consider, for example, United States

v. Saade, 652 F.2d 1126, 1135-36 (1st Cir. 1981).               There, the First

Circuit affirmed the district court’s denial of the defendant’s

motion to dismiss for selective prosecution, observing:

       Assuming the prosecution also concluded, as asserted on
       appeal, that the [defendants’] political prominence
       would fortify the potential deterrent effect, we find
       nothing evil in this calculation....      Although the
       deterrence rationale can always be invoked to justify
       selective prosecution, its general applicability does
       not undermine its legitimacy in the absence of evidence
       that controverts the Government’s asserted interest in
       deterrence of the criminal conduct at issue.


Id. at 1137 n.14 (internal citations omitted). The case literature

thus    underscores     that   the       prosecution      sensibly    selects      for

prosecution    individuals     who       will   receive    media     attention     and

“political prominence is not an impermissible consideration” in

the prosecution selection process.              Ojala, 544 F.2d at 944 (citing

United States v. Peskin, 527 F.2d 71, 86 (7th Cir. 1975)).

       The   question    presented       here   is   whether   the    decision      to

prosecute     Jason     Williams,    a    sitting     councilman      running      for

district attorney, was made in reprisal for his status as a sitting

public official or out of a desire to prevent him from running and

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serving as a reformist DA candidacy, as the defendants contend, or

whether the decision was informed by the agents’ and prosecutor’s

determination that the charged offenses were flagrant in their

inclusion of many personal expenses and that Williams had a history

of tax liens and was an attorney whom the prosecution might be

able to prove should be aware of his tax obligations, as the

government     contends,         and     so        was     within      nondiscriminatory

standards.

       More than once, the government has indicated that it must

consider    how    it   will     carry     its      steep     burden    in   proving     the

“willfulness” mens rea element of the tax fraud crimes charged.

That   it   must    prove    a    violation         of    a   known    legal     duty,   the

government submits, legitimately informs its discretion to pursue

such   cases   against       professionals,              especially     attorneys.        In

questioning        defense       expert,       Harold         Asher,     regarding       the

similarities       or   differences        among          Timothy      clients    and    Mr.

Williams, the government focused on Mr. Williams’ profession, as

an attorney running his own law firm, and suggested that this is

a distinguishing characteristic between Mr. Williams and other

Timothy clients that informed its prosecution decision.                                  The

government noted that Mr. Williams is an attorney who on his law

firm’s website indicates that his firm handles tax evasion matters;

the government also suggested that it distinguishes Mr. Williams

from other Timothy clients on the basis that Mr. Williams took a
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tax class in law school.                These considerations, the government

submits, serve as legitimate factors guiding its discretion in

choosing to prosecute Mr. Williams instead of, say, Timothy’s

trucker or fisherman clients, who may be less sophisticated in

terms of business tax obligation acumen.                 Part and parcel of the

government’s      prosecution       theory      is    that   Jason    Williams,    an

attorney who has indicated that he would represent clients in tax

evasion     cases   is,     in    counsel       for   the    government’s   words,

“intelligent enough to review his returns an understand them.” 52

Of course, the Court makes no determination on this assertion other

than to underscore that it is the prosecution’s burden at trial to

prove each element of the charged crimes beyond a reasonable doubt;

whether     Mr.   Williams       did,    in   fact,    review   his    returns    and

understand them rather than rely on Mr. Timothy to determine which

deductions to claim may very well be an issue presented to the

jury to resolve. 53       But the Court cannot discount the government’s


52 Selecting for prosecution individuals like attorneys learned in
the law (or professionals like tax preparers learned in the tax
law) would be crucial to discharging the government’s burden to
prove willfulness beyond a reasonable doubt at trial.
53 The defense expert testified that when a tax return has been

prepared by a tax preparer, the client “generally depend[s] on me
to make those determinations” meaning that Mr. Asher does not
generally give returns he prepares to his clients and ask them to
review them:    “we generally don’t, we give them the return and
tell them to file it.” Tr. p. 162. Of course, which version of
Mr. Timothy’s narrative will be presented to and believed by the
jury at trial on the issue of Mr. Williams’ and Ms. Burdett’s
participation in the preparation of Williams’ returns will be an
issue for the jury at trial.
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submission     that      proving    willfulness        is    a    tall-order   that

legitimately       may    inform     its      decision       in   selecting     more

sophisticated targets for prosecution.

     The Court finds that the multiplicity of factors informing

prosecutorial      discretion      insulates     the    government’s       selection

here.   The prosecution may legitimately consider characteristics

of offenders that will assist it in discharging its burden at trial

and in achieving deterrence.         Although it is deeply troubling that

the FBI has for years and continues to investigate Mr. Williams,

notwithstanding at least some indication that there is no evidence

supporting pursuit of any charges, the record here suggests that

the IRS investigation began unencumbered by any clear bad faith

motive that otherwise might be driving the FBI to pursue an

investigation that “isn’t going anywhere.”


     Certain       evidence   probative        of    prosecutorial      motivation

supports     the    presumption     of     regularity       and   defies    judicial

intrusion.     Even if the defendants clearly had demonstrated a

prosecution motivated in part by his political prominence, they

have not shown a government desire to prevent Jason Williams from

exercising    his     constitutional       rights;     and    there   is    evidence

supporting legitimate prosecutorial motivation that additionally

spells defeat for the defendants’ selective prosecution claims on

this record.


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                                       III.

     Finally, the Court takes up the defendants’ claim that the

decision to prosecute them for tax fraud is vindictive in violation

of their constitutional right to due process.                       Prosecutorial

discretion is restrained by the due process clause, which prohibits

the government from using its charging discretion to punish a

defendant   in   retaliation         for    the     defendant’s   exercise    of   a

protected statutory or constitutional right.                      Identifying the

contours of a constitutionally protected right is hindered in this

pre-trial setting.       Ultimately, the same evidence that fails to

demonstrate undue selectivity likewise fails the vindictiveness

test, which requires presentation of objective evidence showing it

is more likely than not that the defendants are being prosecuted

to punish them for asserting protected legal rights.

                                           A.

     The Court observes that Jason Williams’ challenge seems best

characterized    as    one     for   selective        prosecution   while    Nicole

Burdett’s   more      neatly    fits       an    attempt   to   claim   vindictive

prosecution.     Jason Williams’ first vindictive prosecution theory

is that he is being punished with criminal tax charges simply

because he failed to meet with SA Marable, in contravention of his

right to refuse to speak to her.                The evidence elicited during the

hearing does not support a claim for vindictiveness or that he was

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indicted in reprisal for his failure to meet with SA Marable.

There is scant case literature to support a successful vindictive

prosecution theory predicated on the initiation of charges, rather

than    the   augmenting     of    charges    following   the   exercise   of   a

protected right.       Even indulging the proffered novel theory, there

is no direct evidence indicating that the tax fraud charges were

instituted in reprisal for his failure to meet with SA Marable;

the evidentiary shortcomings on the issue of malintent that fail

to support Mr. Williams’ selective prosecution claim likewise doom

the vindictive prosecution claim.             At least on this record.

        Insofar as Mr. Williams’ vindictive prosecution claim could

be alternatively predicated on the theory that the government filed

tax fraud charges against him in reprisal for campaigning as a

reformist district attorney candidate, this theory also fails

under the rather strict governing conceptions of vindictiveness.

Regardless of whether then-Attorney General’s remarks in 2019 or

2020,     denouncing     “reformist”     district     attorneys,      could     be

considered DOJ policy or agenda, there is no evidence in the record

manifesting any individual or institutional complicity in any such

political     agenda    by   the    agents,    prosecutors,     or   bureaucrats

involved in this case.




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                                          B.

       Turning   to    Ms.    Burdett’s    vindictiveness      theory,      whether

considering her claim predicated is on the charges brought in

Criminal Action Number 20-55 or on the more recent charges filed

in Criminal Action Number 20-139, there can be no presumption of

vindictiveness        under   Bordenkircher       and    Goodwin.         That   the

constitution     tolerates      a   prosecutor’s        use   of    its    charging

discretion to attempt to persuade the defendant to forego her

future trial right and her right to plead not guilty is dispositive

of Ms. Burdett’s attempt to invoke a presumption of vindictiveness

insofar as she contends that the government is pursuing charges

against her in both indictments to punish her for failing to

cooperate against Jason Williams.              See Bordenkircher, 434 U.S. at

364.    Bordenkircher and its progeny’s conception of due process

endorses such conduct by the prosecutor as a permissible attempt

to persuade a defendant not to exercise her future trial right.


       Although the government suggests that it technically did not

engage in plea negotiations with Ms. Burdett, by letter dated

December 2, 2019 (before both indictments were returned), the

government wrote to Ms. Burdett’s counsel:

       As you will recall, I gave you a deadline of November
       27, 2019, to let me know if your client would come in
       and provide a proffer to the government. We wanted to
       speak to her before making a decision as to whether or
       not we would proceed with her as a target in the Jason

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     Williams investigation and wanted to give her the
     opportunity to cooperate in order to lessen her
     culpability and possibly avoid being charged.         In
     addition, as I mentioned to you, I can only obtain her
     personal tax returns, once a case is officially opened
     on her.    Once the case is open and her returns are
     obtained, she could possibly face additional criminal as
     well as civil exposure.
     I am assuming that you have explained all of this in
     detail to her and I would appreciate a response in
     writing so that we can ensure that she was made aware of
     this offer and that she has officially rejected it.


A request for a proffer session or cooperation may not rise to the

level of plea negotiations per se, but it is a preliminary part of

the plea-bargaining process.           Nevertheless, although the case

literature    confirms   that    the        government   is   precluded   from

retaliating   against    an   individual       by   threatening   or   bringing

additional charges to penalize the defendant’s exercise of her

constitutional rights, Ms. Burdett has failed to identify what the

case literature requires: a protected right in the pretrial context

and that the government filed the initial or, more likely, the

most recent charges, out of a desire to prevent her exercise of

the protected right.

     Bordenkircher and Goodwin permit what the prosecution did

here: in the context of pretrial and preindictment discussions, a

prosecutor may threaten a defendant with charges or more severe

penalties and may carry out those threats if the defendant declines

to cooperate in an investigation of another person. Because Nicole


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Burdett was free to decline the government’s demand for cooperation

(and     indeed    she   did   so     decline),   it   was    constitutionally

permissible for the prosecutor, in the course of encouraging an

individual to cooperate, to make good on the threat of more severe

punishment or additional charges. 54         Unless a defendant shows that

she was treated worse than she would have been had there been no

cooperation overture or plea bargain offered, there is no due

process violation sounding in vindictive prosecution.               Ms. Burdett

has not shown that she was treated worse than she otherwise would

have been had the government not made the offer to cooperate.              See

Long,     823     F.2d   at    1211    (“there    could      be   prosecutorial

vindictiveness only if his refusal [to cooperate] resulted in

treatment harsher than would have occurred if the government had

not sought his assistance.”); see also Williams, 47 F.3d at 662

(“If it is constitutionally permissible to use the threat of more

severe punishment to encourage a guilty plea, certainly it is




54In the December 2019 letter, counsel for the government informed
Ms. Burdett’s attorney of the consequences of her choice not to
cooperate; the case literature reinforces that a presentation of
alternatives is constitutionally tolerable. Ms. Burdett opted not
to cooperate and was indicted (as threatened) both in this case
with Jason Williams as the primary target, 20-55, and pertaining
to her own personal tax conduct, 20-139. To be sure, the realities
of the plea bargaining process and the countenanced “threats”
permitted as part of the process are often unpalatable and appear
incompatible with other constitutional guarantees such as the
constitutional presumption of innocence, but nonetheless are
constitutionally permissible realities indulged by our adversarial
criminal justice system.
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legitimate to use the same tactics to encourage a defendant to

cooperate with the authorities in the criminal investigation and

prosecution of another.”).


       Insofar as Ms. Burdett’s theory of vindictive motive is

predicated on the government’s decision to threaten to and to

ultimately indict her again, after she filed pretrial motions to

dismiss the June 2020 indictment, the vindictiveness theory fares

no    better   under   the   case   literature’s    cramped    conception     of

protected rights in the pretrial context.               Given the expected

realities of pretrial motion practice in our adversary criminal

justice system, there can be no presumption of vindictiveness

merely because charges were filed or augmented after a defendant

filed contested pretrial motions.             See Barner, 441 F.3d at 1319

(“[t]he mere fact that a defendant has made pre-trial motions [even

motions suggesting prosecutorial misconduct] is not sufficient to

raise a presumption of prosecutorial vindictiveness.”); Goodwin,

457    U.S.    at   381-82   (“It   is    unrealistic   to    assume   that   a

prosecutor’s probable response to [a defendant filing pretrial

motions asserting procedural rights] is to seek to penalize and to

deter [given that t]he invocation of procedural rights is an

integral part of the adversary process in which our criminal

justice system operates.”).




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       In the absence of a presumption of vindictiveness, Ms. Burdett

must prove actual vindictiveness, which can be achieved only by

showing “objectively that the prosecutor’s charging decision was

motivated by a desire to punish h[er] for doing something that the

law plainly allowed h[er] to do.” Goodwin, 457 U.S. at 384.                  As

the case literature demonstrates, such a showing generally cannot

be made by a defendant claiming, without more, that additional

charges were filed before trial, after she declined to cooperate,

or after or close in time to filing pretrial motions challenging

the indictment.      Without objective evidence of punitive motivation

towards Ms. Burdett, such ordinary events or occurrences inherent

in the nature of the criminal justice system generally are not

attributable to vindictiveness, harassment, or reprisal and thus

do not generally offend due process. 55


                                      ***


       Ultimately, the evidence in the record falls short of what

the    case   literature   strictly   requires    to   rebut   the   generous

presumption of regularity owed to prosecutorial prerogative due to

separation of powers doctrine.         Regardless, much of the evidence



55Many of the prosecutorial tactics identified and challenged by
Ms. Burdett (particularly the agents’ timing and actions in
involving her close and some ill family members); however
disdainful, this conduct does not rise to the level of indicia of
reprisal under the binding case literature.

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developed in aid of the selective and vindictive prosecution claims

indeed may be probative of the issue or innocence or guilt at

trial.   Nothing in this Order and Reasons should be read to

undercut the constitutional presumption of innocence, which both

Jason Williams and Nicole Burdett fully enjoy unless or until the

government proves (and a jury finds) beyond a reasonable doubt

that each are guilty of the elements of the charged crimes.


     For the foregoing reasons, the defendants’ renewed motions to

dismiss are DENIED.


                       New Orleans, Louisiana, January 8, 2021




                                 ______________________________

                                        MARTIN L. C. FELDMAN

                                  UNITED STATES DISTRICT JUDGE




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